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                ORAL ARGUMENT NOT YET SCHEDULED
                      No. 23-1157 (and consolidated cases)
             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

   State of Utah, by and through its Governor, Spencer J. Cox, and its Attorney
                             General, Sean D. Reyes,
                                     Petitioner,
                                        v.
 Environmental Protection Agency and Michael S. Regan, in his official capacity,
        as Administrator of the U.S. Environmental Protection Agency,
                                 Respondents.
 On Petition for Review of Action by the U.S. Environmental Protection Agency

     FINAL BRIEF OF PETITIONERS UTAH, OHIO, INDIANA,
   KENTUCKY, NEVADA, WEST VIRGINIA, AND THE KENTUCKY
           ENERGY AND ENVIRONMENT CABINET

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     CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), Petitioners, the Utah, Ohio, Indiana,

West Virginia, Kentucky, Kentucky Energy and Environment Cabinet, and Nevada

(“State Petitioners”), hereby certify as follows:

(A) Parties and Amici

        i.    Parties, Intervenors, and Amici who Appeared in the District Court

      This case is a petition for review of final agency action, not an appeal from a

district court’s ruling.

        ii.   Parties to this Case

      Petitioners:

      No. 23-1157: State of Utah

      No. 23-1181: Kinder Morgan, Inc.

      No. 23-1183: States of Ohio, West Virginia, and Indiana

      No. 23-1190: American Forest & Paper Association

      No. 23-1191: Midwest Ozone Group

      No. 23-1193: Interstate Natural Gas Association of America and American

Petroleum Institute

      No. 23-1195: Associated Electric Cooperative, Inc., Deseret Generation &

Transmission Co-Operative, d/b/a Deseret Power Electric Cooperative, Ohio



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Valley Electric Corporation, Wabash Valley Power Association, Inc., d/b/a Wabash

Valley Power Alliance, America’s Power, National Rural Electric Cooperative

Association, and Portland Cement Association

      No. 23-1199: National Mining Association

      No. 23-1200: American Iron and Steel Institute

      No.23-1201: State of Wisconsin

      No. 23-1202: Enbridge (U.S.) Inc.

      No. 23-1203: American Chemistry Council and American Fuel &

Petrochemical Manufacturers

      No. 23-1205: TransCanada Pipeline USA Ltd.

      No. 23-1206: Hybar LLC

      No. 23-1207: United States Steel Corporation

      No. 23-1208: Union Electric Company, d/b/a Ameren Missouri

      No. 23-1209: State of Nevada

      No. 23-1211: Arkansas League of Good Neighbors

      No. 23-1306: Energy Transfer L.P.

      No. 23-1307: Energy Transfer L.P.

      No. 23-1314: Commonwealth of Kentucky, Energy and Environment Cabinet

      No. 23-1315: Commonwealth of Kentucky



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      No. 23-1316: Energy Transfer LP

      No. 23-1317: Buckeye Power, Inc. and Ohio Valley Electric Corporation

      Respondents:

      In all cases: the United States Environmental Protection Agency (“EPA”)

and Michael S. Regan, in his official capacity as Administrator of the EPA

      Intervenors for Petitioners:

      Nos. 23-1157, 23-1181, 23-1190, 23-1191, 23-1193, 23-1195, 23-1199, 23-1200,

23-1201, 23-1202, 23-1203, 23-1205, 23-1206, 23-1207, 23-1208, 23-1209, 23-1211:

City Utilities of Springfield, Missouri

      No. 23-1201: Sierra Club

      Intervenors for Respondents:

      Nos. 23-1157, 23-1181: States of New York, Connecticut, Delaware, Illinois,

Maryland, New Jersey, and Wisconsin, the Commonwealths of Massachusetts and

Pennsylvania, the District of Columbia, and Harris County, Texas

      No. 23-1157: Air Alliance Houston, Appalachian Mountain Club, Center for

Biological Diversity, Chesapeake Bay Foundation, Citizens for Pennsylvania’s

Future, Clean Air Council, Clean Wisconsin, Downwinders at Risk, Environmental

Defense Fund, Louisiana Environmental Action Network, Sierra Club, Southern

Utah Wilderness Alliance, and Utah Physicians for a Healthy Environment



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      No. 23-1201: Midwest Ozone Group

      No. 23-1316: Appalachian Mountain Club, Ohio Environmental Council, and

Sierra Club

      iii.    Amici in this Case

      Amici Curiae for Petitioners:

      Nos. 23-1157, 23-1181, 23-1183, 23-1190, 23-1191, 23-1193, 23-1195, 23-1199,

23-1200, 23-1201, 23-1202, 23-1203, 23-1205, 23-1206, 23-1207, 23-1208. 23-1209,

23-1211: Chamber of Commerce of the United States of America

      Nos. 23-1157, 23-1181, 23-1183, 23-1202, 23-1205: Energy Infrastructure

Council

      No. 23-1306: Kinder Morgan, Inc.

      No. 23-1306, 23-1307, 23-1316: TransCanada Pipeline USA Ltd.

      iv.     Circuit Rule 26.1 Disclosures

      Not applicable because State Petitioners are state governments.

(B) Rulings Under Review

      State Petitioners seek review of EPA’s final action promulgating a federal

implementation plan (“FIP”) for 23 states, including Utah, Ohio, Indiana, West

Virginia, Kentucky, and Nevada, to address the interstate transport requirements of




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42 U.S.C. §7410(a)(2)(D)(i)(I) for the 2015 8-hour ozone national ambient air

quality standards.

      EPA’s final action is titled “Federal ‘Good Neighbor Plan’ for the 2015 Ozone

National Ambient Air Quality,” and is published in the Federal Register at 88 Fed.

Reg. 36,654 (June 5, 2023) (EPA Docket No. EPA-HQ-OAR-2021-0668).

(C) Related Cases

             1.      Challenges to the FIP in other Circuits

Fifth Circuit:

      Texas v. EPA, Case No. 23-60300 (5th Cir. June 7, 2023) (consolidated cases

      challenging FIP’s applicability to Texas, Mississippi, and Louisiana).

Eighth Circuit:

      Arkansas v. EPA, Case No. 23-2769 (8th Cir. Aug. 2, 2023) (challenging FIP’s

      applicability to Arkansas); Missouri v. EPA, 23-2771 (8th Cir. Aug. 3, 2023)

      (challenging FIP’s applicability to Missouri); Energy Transfer LP v. EPA, No.

      23-2773 (8th Cir. Aug. 3, 2023) (challenging FIP’s pipeline-engine provisions

      in Arkansas); Energy Transfer LP v. EPA, No. 23-2774 (8th Cir. Aug. 3, 2023)

      (challenging FIP’s pipeline-engine provisions in Missouri); Hybar LLC v.

      EPA, No. 23-2782 (8th Cir. Aug. 4, 2023) (challenging FIP’s applicability to

      Arkansas); Union Electric Co., d/b/a Ameren Missouri v. EPA, No. 23-2786 (8th



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      Cir. Aug. 4, 2023) (challenging FIP’s applicability to Missouri); ALLETE v.

      EPA, No. 23-2789 (8th Cir. Aug. 4, 2023) (challenging FIP’s applicability to

      Minnesota).

Ninth Circuit:

      Nevada Cement Co. LLC v. EPA, No. 23-1098 (9th Cir. June 5, 2023)

      (challenging FIP’s applicability to Nevada).

Tenth Circuit:

      Tulsa Cement LLC v. EPA, No. 23-9551 (10th Cir. June 5, 2023) (challenging

      FIP’s applicability to Oklahoma); PacifiCorp v. EPA, No. 23-9557 (10th Cir.

      June 26, 2023) (challenging FIP’s applicability to Utah); State of Oklahoma v.

      EPA, No. 23-9561 (10th Cir. June 30, 2023) (challenging FIP’s applicability to

      Oklahoma); Energy Transfer LP v. EPA, No. 23-9569 (10th Cir. July 27, 2023)

      (challenging FIP’s pipeline-engine provisions in Oklahoma).

Eleventh Circuit:

      State of Alabama v. EPA, No. 23-12528 (11th Cir. Aug. 4, 2023) (challenging

      FIP’s applicability to Alabama); Alabama Power Co. v. EPA, No. 23-12531 (11th

      Cir. Aug. 4, 2023) (challenging FIP’s applicability to Alabama).

            2.      Challenges to the Predicate SIP Disapprovals

Fourth Circuit:



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      West Virginia v. EPA, No. 23-1418 (4th Cir. Apr. 14, 2023).

Fifth Circuit:

      Texas v. EPA, No. 23-60069 (5th Cir. Feb. 14, 2023).

Sixth Circuit:

      Kentucky v. EPA, No. 23-3216 (6th Cir. Mar. 13, 2023); Ky. Energy & Env’t

      Cabinet v. EPA, No. 23-3225 (6th Cir. Mar. 17, 2023).

Eighth Circuit:

      Arkansas v. EPA, No. 23-1320 (8th Cir. Feb. 16, 2023); Missouri v. EPA, No.

      23-1719 (8th Cir. Apr. 13, 2023); Union Elec. Co., d/b/a Ameren Missouri v.

      EPA, No. 23-1751 (8th Cir. Apr. 13, 2023); Sw. Elec. Power Co. v. EPA, No. 23-

      1765 (8th Cir. Apr. 14, 2023); City Utils. of Springfield v. EPA, No. 23-1774

      (8th Cir. Apr. 14, 2023); ALLETE, Inc. v. EPA, No. 23-1776 (8th Cir. Apr. 14,

      2023); Hybar LLC v. EPA, No. 23-1777 (8th Cir. Apr. 14, 2023); Ark. League

      of Good Neighbors v. EPA, No. 23-1778, (8th Cir. Apr. 14, 2023).

Ninth Circuit:

      Nev. Cement Co. v. EPA, No. 23-682 (9th Cir. Apr. 17, 2023).

Tenth Circuit:

      Utah v. EPA, No. 23-9509 (10th Cir. Feb. 13, 2023) (transferred to D.C.

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      2023) (transferred to D.C. Circuit as No. 24-1043); Okla. Gas & Elec. Co. v.

      EPA, No. 23-9521 (10th Cir. Mar. 16, 2023) (transferred to D.C. Circuit as

      No. 24-1044); PacifiCorp v. EPA, No. 23-9512 (10th Cir. Feb. 23, 2023)

      (transferred to D.C. Circuit as No. 24-1041); Utah Associated Mun. Power Sys.

      v. EPA, No. 23-9520 (10th Cir. Mar. 15, 2023) (transferred to D.C. Circuit as

      No. 24-1042); Wyoming v. EPA, No. 23-9529 (10th Cir. Apr. 5, 2023)

      (voluntarily dismissed Jan. 19, 2024); PacifiCorp v. EPA, No. 23-9531 (10th

      Cir. Apr. 6, 2023) (voluntarily dismissed Jan. 19, 2024); Tulsa Cement LLC v.

      EPA, No. 23-9533 (10th Cir. Apr. 13, 2023) (transferred to D.C. Circuit as No.

      24-1045); Western Farmers Electric Coop. v. EPA, No. 23-9534 (10th Cir. Apr.

      14, 2023) (transferred to the D.C. Circuit as No. 24-1046); Basin Elec. Power

      Co. v. EPA, No. 23-9537 (10th Cir. Apr. 14, 2023) (voluntarily dismissed Jan.

      19, 2024).

Eleventh Circuit:

      Alabama v. EPA, No. 23-11173 (11th Cir. Apr. 13, 2023); Ala. Power Co. v. EPA,

      No. 23-11196 (11th Cir. Apr. 14, 2023).

D.C. Circuit:

      Utah v. EPA, No. 23-1102 (D.C. Cir. Apr. 13, 2023) (protective petition);

      Oklahoma v. EPA, No. 23-1103 (D.C. Cir. Apr. 13, 2023) (protective petition),



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      Okl. Gas & Elec. Co. v. EPA, No. 23-1105 (D.C. Cir. Apr. 14, 2023) (protective

      petition); Tulsa Cement LLC v. EPA, No. 23-1106 (D.C. Cir. Apr. 14, 2023)

      (protective petition); W. Farmers Elec. Coop. v. EPA, No. 23-1107 (D.C. Cir.

      Apr. 14, 2023) (protective petition); PacifiCorp v. EPA, No. 23-1112 (D.C. Cir.

      Apr. 14, 2023) (protective petition), Nevada v. EPA, No. 23-1113 (Apr. 14,

      2023); Nevada Cement Co. v. EPA, No. 23-1115 (Apr. 14, 2023) (protective

      petition).

             3.    Challenges to two related rules, the Interim Final Rules,
                   challenged in this Court and currently held in abeyance. *

D.C. Circuit:

      Nat’l Mining Ass’n v. EPA, No. 23-1275 (consolidated with case Nos. 23-1276,

      23-1277, 23-1278, 23-1279, 23-1321, 23-1323, 23-1324, 23-1325, 23-1326) (D.C.

      Cir. Sept. 29, 2023) (cases held in abeyance).




*
 See 88 Fed. Reg. 49,295 (July 31, 2023) (staying application of the FIP to six
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* Authorities upon which we chiefly rely are marked with asterisks.

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                             GLOSSARY OF TERMS

      CAA or the Act         Clean Air Act

      APA                    Administrative Procedure Act

      EGU                    Electric Generating Unit

      EPA                    U.S. Environmental Protection Agency

      Final Rule             Federal ‘Good Neighbor Plan’ for the 2015 Ozone
                             National Ambient Air Quality, 88 Fed. Reg. 36,654
                             (June 5, 2023)

      FIP                    Federal Implementation Plan

      Interstate             Section 110(a)(1) of the CAA; 42 U.S.C. §7410(a)(1)
      Transport
      Provision

      NAAQS                  National Ambient Air Quality Standards

      NOx                    Nitrogen Oxide

      ppb                    Parts Per Billion

      SIP                    State Implementation Plan

      State Petitioners      Utah, Ohio, Indiana, West Virginia, Kentucky,
                             Nevada, and Kentucky Energy and Environment
                             Cabinet

      VOCs                   Volatile Organic Compounds




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                      JURISDICTIONAL STATEMENT

      This Court has jurisdiction over, and is a proper venue for, State Petitioners’

Petitions for Review under 42 U.S.C. §7607(b)(1).

      State Petitioners filed their petitions in the relevant time period—between

June 20 and August 4, 2023—which is within 60 days of publication of the

challenged action in the Federal Register. See id.




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                          PERTINENT STATUTE

      Relevant statutory provisions are reproduced in the attached Addendum.




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                                 INTRODUCTION

      The Clean Air Act pictures a world where the States and the federal

Environmental Protection Agency (“EPA”) work together to ensure the nation’s air

quality. EPA views its role differently—leading it to take unreasoned and unlawful

action.

      This dispute is many years in the making. EPA’s 2015 revisions to the national

ambient air quality standard (“NAAQS” or “air-quality standards”) for ozone

triggered each State’s obligation to develop revised State-implementation plans

(“SIPs” or “state plans”) to implement and enforce the new standard. These plans

must address each State’s obligation under the Act to prevent their emissions from

contributing “significantly” to downwind States’ air quality. EPA delayed review

of the state plans for many years. It then suddenly rejected the plans of roughly half

of the country’s States.

      Soon after, EPA revealed an ambitious federal-implementation plan (“FIP”

or “federal plan”). The federal plan adopts a four-step analytical framework—

developed in an earlier rulemaking, see EPA v. EME Homer City Generation, L.P., 572

U.S. 489 (2014)—that ties the regulation of emissions from twenty-three upwind

States together. EPA premised the federal plan on the assumption that all twenty-

three States would participate. The plan also newly regulates nine major industries



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on an accelerated timeline. And it imposes draconian emissions reductions on power

plants in each State, risking plant shutdowns and grid instability.

      The federal plan is a product of unreasoned decisionmaking. EPA has

authority to adopt a federal plan only after it properly disapproves of state plans. See

42 U.S.C. §7410(c)(1). During the rulemaking process, commentors previewed that

decisions on litigation over the EPA’s disapproval of state plans would disrupt the

EPA’s authority to impose an interdependent federal plan governing twenty-three

States. EPA nonetheless pushed forward. In doing so, EPA never considered, much

less explained, whether its interdependent, twenty-three-state federal plan’s

methodology is sound when applied to only a subset of the regulated States.

      Worse still, EPA’s federal plan has many problems unique to the Western

States, which EPA attempts to regulate for the first time. Indeed, EPA shifted course

from its past treatment of Western States, without proper justification. The federal

plan even forces one State—Utah—to account for emissions from Indian country

that are beyond the State’s regulatory authority.

      Unsurprisingly, given the above problems, the federal plan is already a failure.

A combination of litigation and interim rulemaking has already exempted a dozen of

the initially regulated States from the plan. This Court should reverse this unlawful




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federal mandate that threatens the States and their industries and inverts the federal-

state balance that Congress struck through the Clean Air Act.

                           STATEMENT OF ISSUES

      1. Whether EPA acted arbitrarily, capriciously, or otherwise unlawfully when

it failed to consider an important aspect of the federal-implementation plan: whether

the interdependent, twenty-three-state federal plan is sound when applied to only a

subset of the regulated States.

      2. Whether EPA acted arbitrarily, capriciously, or otherwise unlawfully when

it applied its non-binding four-step framework for assessing significant contribution

to Utah and Nevada, even though EPA (a) developed the framework to assess

interstate transport specific to the East, (b) repeatedly concluded in prior

rulemakings that the framework was not appropriate for assessing significant

contribution in the West, (c) failed to justify adequately its new position that the

framework should apply to Utah, Nevada, and other Western States, and (d) refused

to apply an alternative “weight-of-evidence” approach for Utah and Nevada while

allowing it for Arizona and Oregon.

      3. Whether EPA acted arbitrarily, capriciously, or otherwise unlawfully by

including emissions from Indian country in Utah’s contribution analysis and

allowance allocations.



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      4. Whether EPA acted arbitrarily, capriciously, or otherwise unlawfully by

adding “enhancements” to the allowance-trading program that impose deeper

emissions-reduction requirements than needed to adequately address significant

contribution to downwind air pollution.

                        STATEMENT OF THE CASE

I.    The Clean Air Act employs cooperative federalism to address air
      pollution.

      Air pollution “is transient, heedless of state boundaries.” EPA v. EME Homer

City Generation, L.P., 572 U.S. 489, 496 (2014). Some pollutants never leave a

State’s borders. Others travel into States located downwind. Id. Often, a single

State’s pollutants will travel to multiple downwind States. Id. And some States

simultaneously receive and export pollution. But “air pollution control” has

traditionally been “the primary responsibility of States and local governments.” 42

U.S.C. §7401.

      In 1970, Congress passed the Clean Air Act to encourage cooperation among

the States in managing air pollution. See 42 U.S.C. §7401, et seq. The Act “is an

exercise in cooperative federalism.” Env’t Comm. of Fla. Elec. Power Coordinating

Grp., Inc. v. Env’t Prot. Agency, 94 F.4th 77, 93 (D.C. Cir. 2024). Congress tasked

EPA with identifying harmful pollutants and establishing national air-quality

standards. Id. Once EPA sets a national air-quality standard for a particular


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pollutant, it must identify specific locations where the concentration of a regulated

pollutant exceeds, or is in “nonattainment” with, the level EPA set. §7407(d).

      But the States retain “the primary responsibility” to decide the “manner” in

which they will implement emissions control programs to meet the standards. 42

U.S.C. §7407(a); See Env’t Comm., 94 F.4th at 93. Each State must submit a SIP to

EPA that sets emission limitations adequate to attain a NAAQS within three years.

Env’t Comm., 94 F.4th at 84. “Each State” has “wide discretion in formulating its

plan.” Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976). As “long as the ultimate

effect of a State’s choice of emission limitations is compliance with the [NAAQS],

the State is at liberty to adopt whatever mix of emissions limitations” and other

controls “it deems best suited to its particular situation.” Train v. Nat. Res. Def.

Coun., 421 U.S. 60, 79 (1975).

      SIPs must “comply with a number of the Clean Air Act’s specific legal

requirements.” Env’t Comm., 94 F.4th at 85. The Act’s “interstate transport”

provision requires States to account for pollution that travels beyond their borders.

42 U.S.C. §7410(a)(2)(D)(i). Specifically, SIPs must include “adequate provisions”

to mitigate in-state emissions that “contribute significantly to nonattainment in, or

interfere with maintenance by, any other State with respect to any” NAAQS. Id.




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      After a State submits its SIP, EPA takes a “ministerial” role in “reviewing”

it. Texas v. EPA, 829 F.3d 405, 411 (5th Cir. 2016) (quotation omitted). If a SIP

meets the Act’s requirements, EPA “shall approve” it. §7410(k)(3). That means

EPA cannot disapprove a SIP merely because it believes there is a better way to

achieve the Act’s requirements. See id. EPA must act on a proposed SIP within 18

months of the State’s submission. §§7410(k)(1)(B), (k)(2). If, after review, EPA

deems a SIP deficient, EPA is expected to work with the State to make the SIP

compliant, for example, by providing an opportunity for “the State” to “correct[]

the deficiency.” §§7410(c)(1)(B), (k)(5).

      Critical here, EPA can issue a FIP only after it “disapproves” a SIP for failing

to meet the Act’s requirements. §7410(c)(1). A FIP, like a SIP, must meet the Act’s

requirements, including the Act’s interstate-transport requirement.                See

§§7410(c)(1), 7602(y). EPA has up to two years after disapproving a SIP to issue a

FIP. §7410(c)(1)(B). And a State may submit a revised SIP any time before a FIP

goes into effect. See §7410(c)(1). These features reflect the Act’s foundational

principle that the States retain the “primary responsibility for assuring air quality.”

§7407(a).




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II.   Factual and Procedural History

      A.     2015-ozone NAAQS and SIP submissions

      In October 2015, EPA reduced the NAAQS for ozone from 75 to 70 parts per

billion (“ppb”). 80 Fed. Reg. 65,292, 65,301 (Oct. 26, 2015). That change triggered

the States’ obligation to update their SIPs. 42 U.S.C. §7410(a)(1).

      For States that contribute significantly to downwind air pollution, the revised

SIPs needed to include provisions for how each State would satisfy the Act’s “good

neighbor” (or “interstate transport”) provision. §7410(a)(2)(D). Notably, before

the 2015 ozone-NAAQS revision, EPA had never found that emissions from

Western States, including Utah and Nevada, contributed significantly to air-quality

problems in downwind States. EPA had consistently viewed ozone transport as a

uniquely Eastern issue, 81 Fed. Reg. 74,504, 74,523 (Oct. 26, 2016), noting that “the

transport issues in the Eastern United States are analytically distinct” from the

West. 75 Fed. Reg. 45,210, 45,227 (Aug. 2, 2010). Even after identifying “problem

receptors in the West,” EPA did not apply the four-step framework or extend a prior

rule (Cross-State-Air-Pollution Rule) to Western States in 2015, noting that “[t]here

may be additional criteria to evaluate regarding collective contribution of transported

air pollution in the West.” 80 Fed. Reg. 75,706, 75,709 (Dec. 3, 2015); see also 81

Fed. Reg. 74,504, 74,523.



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      After EPA finalized the 2015-ozone NAAQS, EPA initially worked

cooperatively with the States. EPA issued guidance memoranda to “assist[] states

in developing SIPs” for the new standards. See Memorandum from Peter Tsirigotis at

3 (Mar. 27, 2018), https://perma.cc/Y8YF-CQMB (“March Memorandum”); see

also Memorandum from Peter Tsirigotis (Aug. 31, 2018), https://perma.cc/G8EN-

RN8Q (“August Memorandum”). Acknowledging that “its analytical approaches

have varied over time,” EPA emphasized that the States could use more than one

framework to craft their good-neighbor provisions. March Memorandum at 3;

August Memorandum at 1. EPA also acknowledged that its guidance does not

impose “binding, enforceable requirements” and “state air agencies retain the

discretion to develop” SIPs that “differ from this guidance.” August Memorandum

at 1. And EPA offered modeling parameters that the States could use in developing

their plans alongside recommended screening thresholds for identifying “linkages”

between upwind States and problem locations downwind. See March Memorandum

at Attachments B & C; August Memorandum at 4. Many States—including the

State Petitioners—worked cooperatively with EPA in formulating their SIPs. See

March Memorandum at 6; see, e.g., Crowder Decl., JA2114 (¶¶14–15).

      The State Petitioners submitted SIPs according to EPA’s guidance: Ohio in

September 2018, 87 Fed. Reg. 9,838, 9,849 (Feb. 22, 2022); Nevada in October



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2018, 87 Fed. Reg. 31,485 (May 24, 2022); Indiana in November of the same year,

87 Fed. Reg. 9,838, 9,845; Kentucky in January 2019, 87 Fed. Reg. 9,498, 9,503 (Feb.

22, 2022); West Virginia in February 2019, 87 Fed. Reg. 9,516, 9,522 (Feb. 22,

2022); and Utah in January 2020, 87 Fed. Reg. 31,470, 31,475 (May 24, 2022).

      B.     EPA disapproves the State Petitioners’ SIPs.

      EPA had eighteen months to review the SIP submissions.              42 U.S.C.

§7410(k)(1)(B), (k)(2). But the States’ submissions sat with EPA for years.

      Suddenly, on a single day, EPA proposed to disapprove nineteen SIPs,

including those of Ohio, Indiana, Kentucky, and West Virginia. 87 Fed. Reg. at 9,838

(Ohio and Indiana); 87 Fed. Reg. at 9,516 (West Virginia); 87 Fed. Reg. 9,498

(Kentucky). A few months later, EPA proposed to disapprove additional SIPs,

including Utah’s and Nevada’s. 87 Fed. Reg. 31,470 (Utah); 87 Fed. Reg. 31,485

(Nevada).

      EPA’s proposed disapprovals had glaring flaws. For example, EPA used air-

quality modeling and data that were unavailable when the States made their

submissions. See 87 Fed. Reg. at 9,840–41. And EPA faulted States for adopting a

screening threshold (1 ppb), id. at 9,843, that the agency had previously stated would

be “reasonable and appropriate,” August Memorandum at 4.




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      For Utah and Nevada, EPA rejected their decision to use a weight-of-evidence

approach that is more suitable for analyzing ozone-transport conditions in the West.

Previously, however, EPA agreed that such an approach allowed for greater

consideration of relevant local factors, including data related to unique Western

conditions. See 81 Fed. Reg. 15,200, 15,203 (Mar. 22, 2016). Indeed, EPA used the

same weight-of-evidence approach in approving Arizona’s SIP addressing ozone-

transport for the 2008-ozone NAAQS. See id.

      C.    EPA proposes a FIP.

      At that point, EPA should have worked with the States to correct the

perceived deficiencies in the SIPs. See 42 U.S.C. §7410(c)(1)(B). EPA had a

different plan. Less than two months after proposing to disapprove nineteen States’

SIPs—and before EPA had proposed to disapprove the Utah and Nevada SIPs—

EPA unveiled a federal-implementation plan that would impose substitute

obligations on States. 87 Fed. Reg. 20,036 (Apr. 6, 2022) (“Proposed FIP”),

JA0115.

      This FIP, EPA claimed, would “resolve” the interstate-transport obligations

for twenty-three States whose plans EPA had just proposed, or would soon propose,

to disapprove. The FIP proposed a coordinated solution—explained at length later

in this brief—picking a single cost-effective strategy that would cover all twenty-



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three upwind States. Id. Through this coordinated approach, EPA sought to

apportion the responsibility of reducing emissions “collectively” among

“contributing upwind states” in an “efficient and equitable” manner. Id. at 20,076,

JA0155 (quoting Homer, 572 U.S. at 519).

      D.       The States and their industries challenge the SIP disapprovals
               before the FIP becomes final.

      EPA’s proposed SIP disapprovals drew strong objections. EPA pressed on,

nonetheless.     In February 2023, EPA finalized disapproval of SIPs—lumping

together twenty-one separate disapprovals into the same Federal Register

publication. 88 Fed. Reg. 9,336 (Feb. 13, 2023). In response, many States challenged

EPA’s flawed SIP disapprovals in courts. See, e.g., West Virginia v. EPA, No. 23-1418

(4th Cir.); Texas v. EPA, No. 23-60069 (5th Cir.); Kentucky v. EPA, No. 23-3216 (6th

Cir.); Arkansas v. EPA, No. 23-1320 (8th Cir.); Missouri v. EPA, No. 23-1719 (8th

Cir.); Ky. Energy & Env’t Cabinet v. EPA, No. 23-3225 (6th Cir.); Nevada Cement Co.

LLC v. EPA, No. 23-682 (9th Cir.) (State of Nevada granted intervention); Utah v.

EPA, No. 23-9509 (10th Cir.) (Utah and Oklahoma petitions transferred to D.C.

Circuit); Alabama v. EPA, No. 23-11173 (11th Cir.). Other States—like Ohio and

Indiana—chose not to pursue litigation, instead accepting that they would be

regulated under a plan different from one they crafted, so long as it was lawful.




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      Litigation over the SIP disapprovals showcased the serious flaws with EPA’s

action. Challengers highlighted that EPA had “exceeded its authority” by using

“non-statutory factors” during its evaluation and “invert[ed]” the Act by denying

the States their “primary” role in regulating air pollution. Texas v. EPA, No. 23-

60069, 2023 WL 7204840, *6–7 (5th Cir. May 1, 2023) (per curiam). And EPA

unlawfully moved the “goalpost” by using modeling and data unavailable to the

States when they made their submissions. Id. at *9. EPA’s review also relied on “a

material shift” from the guidance it had offered to the States about how to meet their

requirements. Id. at *8; 87 Fed. Reg. at 9,840–41.

      EPA had not published the FIP when the litigation over the SIP disapprovals

commenced. During the FIP’s public-comment period, commenters previewed the

just-discussed legal problems with the SIP disapprovals. See 88 Fed. Reg. 36,654

(June 5, 2023) (“FIP”), at 36,672, JA1569; EPA, Response to Public Comments

(“RTC”), JA1332–26, JA1329–31, JA1394–1404. Commenters further stressed that

the legal problems with SIP disapprovals would lead to enforcement problems with

the FIP. One commentor warned that the EPA’s rushed approach was “at the

expense of a reasoned and defensible rule.” Interstate Natural Gas Ass’n of Am.

Comments (June 21, 2022), JA2198. “Pushing forward” with the FIP, that

commentor went on, “will have unintended consequences that will negatively



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impact regulated parties” and will “invite[] litigation alleging that EPA has acted

arbitrarily and capriciously.” Id. Another commentor predicted that EPA’s broad

interpretation of its authority would lead to “legal challenges to any final rule in the

same form as the Proposed Rule.” U.S. Steel Corp. Comments (June 21, 2022),

JA0619, JA0649–54. EPA’s actions, that commenter explained, risked “stringing

out any rulemaking in constant challenges” and “likely jettisoning the uniformity

that EPA purports to seek.” Id. at JA0620.

      Notwithstanding these comments, EPA’s Administrator signed the near-final

FIP in March 2023. This prepublication notice cautioned that the announced

version of the rule was not the “official version … for the purpose of compliance”

and that the official FIP would be “forthcoming” in the Federal Register. See

Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality

Standards at 1 (March 15, 2023), https://perma.cc/CDH8-TWUJ.

      But even before EPA published the FIP, the commentors proved prescient:

circuit courts of appeal began staying the SIP disapprovals starting in May. See

Order, Texas v. EPA, No. 23-60069 (5th Cir. May 1, 2023); Order, Texas v. EPA, No.

23-60069 (5th Cir. June 8, 2023); Order, Arkansas v. EPA, No. 23-1320 (8th Cir.

May 25, 2023); Order, Missouri v. EPA, No. 23-1719 (8th Cir. May 26, 2023); Order,

Union Elec. Co. v. EPA, No. 23-1751 (8th Cir. May 26, 2023); Order, Kentucky v. EPA,



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No. 23-3216 (6th Cir. May 31, 2023) (administrative stay). The Fifth Circuit stayed

the Texas and Louisiana SIP disapprovals finding that EPA likely behaved unlawfully

when it disapproved them. Texas, 2023 WL 7204840, at *6–11. The Sixth and

Eighth Circuits also stayed the SIP disapprovals of several states pending judicial

review. See Order, Kentucky, No. 23-3216 (6th Cir. May 31, 2023); Order, Arkansas,

No. 23-1320 (8th Cir. May 25, 2023); Order, Missouri, No. 23-1719 (8th Cir. May 26,

2023).

      Because an operative SIP disapproval is the legal predicate for EPA’s

authority to impose a FIP, see §7410(c)(1), EPA lacked authority to impose a FIP on

States whose SIP disapproval had been stayed. EPA nonetheless published the FIP

in the Federal Register on June 5, 2023. FIP at 36,664, JA1561. Although judicial

stays already precluded EPA from enforcing the FIP against many States, EPA

maintained that the FIP would “resolve” the interstate-transport obligations for all

of them. Id. at 36,656, JA1553.

      E.     The FIP takes a coordinated approach premised on the
             participation of all twenty-three States it set out to regulate.

      The FIP purports to address emissions from twenty-three States. To quantify

those States’ interstate-transport obligations, EPA utilized a four-step framework.

FIP at 36,659–60, JA1556–57; id. at 36,667, 36,671–73, 36,682, JA1564, JA1568–70,

JA1579.


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      Step one. First, EPA tried to locate problematic areas. Specifically, EPA

identified downwind locations, or “receptors,” “that are expected to have problems

attaining or maintaining the NAAQS.” Id. at 36,659, JA1556.

      Step two. Second, EPA sought to determine which upwind States contribute

significant pollution to the problem locations. More technically, EPA “determine[d]

which upwind states are ‘linked’ to these identified downwind receptors based on a

numerical contribution threshold.” Id. at 36,671, JA1568. For FIP purposes, EPA

established a numerical contribution threshold of 0.7 ppb (1% of the NAAQS). Id. at

36,658, JA1555. States that contribute above that threshold to a delinquent receptor

located in a downwind State’s borders contribute to that State’s ozone pollution. Id.

      Step three.   Next, and most important, the EPA determined how much

emissions sources in each State identified at Step 2 must reduce. It did that by

establishing acceptable statewide emissions levels, premised on the application of a

single cost-effective strategy for each source category (i.e., power sources) for all of

the upwind States, above which emissions contribute significantly to downwind

pollution.

      Selecting a single strategy relevant to all upwind States, itself, has multiple

sub-steps. EPA first identified various technologies that reduce emissions. FIP at

36,678, JA1575; id. at 36,720–36,732, JA1617–29; see, e.g., Ozone Transport Policy



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Analysis Final Rule TSD (“OTPA”) at JA1010, JA1054 (Table C-1), JA1014 (Table

A-2). Then, EPA assigned a cost for implementing each identified technology (or

mix of technologies). FIP at 36,678, 36,720–36,732, JA1575, JA1617–29; see OTPA

at JA1010, JA1054 (Table C-1), JA1014 (Table A-2); EGU NOX Mitigation

Strategies Final Rule TSD, JA1137. EPA next mapped the cost of implementing each

mitigating technology against the emissions reductions achievable across all regulated

States when that technology is applied.        See OTPA at JA1023–36 & JA1105

(Appendix A) at State 2023–2029 (Rows 50–52; Columns K–P); see Technical

Memo at JA0049. This can be visualized as a graph with the costs of technologies

on one axis and the aggregate emissions produced on the other axis.

      From there, for each source category, EPA selected the cost-effective strategy

to govern the twenty-three upwind States. That is, EPA picked the point at which

an additional dollar spent (on better technology) produces little additional benefits

across the regulated States, that is, the “technology breakpoint” at which costlier

mitigation has diminishing marginal returns. FIP at 36,678, JA1575. Locating this

“knee in the curve” is critical to the FIP. Id. at 36,683, 36,741, 36,745, JA1580,

JA1638, JA1642. And where EPA deviated from this inflection point—for example,

upon a finding of technical infeasibility for a particular industry—it hewed to

selecting a strategy that, in its view, best reflected this technology breakpoint. See,



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e.g., id. at 36,660, 36,733, 36,739–40, 36,746, 36,837, JA1557, JA1630, JA1636–37,

JA1643, JA1734.

      EPA then “uniform[ly]” applied “across the upwind sources” this

“maximized cost-effective[]” emissions-control strategy to calculate statewide

emissions budgets. FIP at 36,677–78, JA1574–75; see id. at 36,676, 36,688, JA1573,

JA1585.    To satisfy the State’s interstate-transport obligations, sources must

eliminate “emissions that are in excess” of the emissions levels achieved by applying

the selected cost-effective control strategy “identified in Step 3.” FIP at 36,753,

JA1650. In EPA’s view, holding similar sources across “linked upwind States” to a

single cost-effective strategy, id. at 36,676, JA1573, is an “efficient and equitable …

apportion[ment]” of “emissions reduction responsibilities among upwind states.”

Id. at 36,719, JA1616 (quotations omitted).

      Step four.    Finally, EPA laid out how regulated sources may achieve

compliance. Power sources can, among other things, install the “cost-effective”

technology or participate in an interstate allowance-trading program (first

implemented for prior interstate-transport rulemakings). Id. at 36,654, 36,760–817,

JA1551, JA1657–1714. But, EPA overhauled the pre-existing trading program in the

FIP. It did so by imposing “enhancements” that progressively shrink the tradeable-




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allowance bank by removing “surplus … allowances” that, in EPA’s view,

“diminish[] the intended stringency” of the program. Id. at 36,762–70, JA1659–67.

      At bottom, the FIP dramatically expands EPA’s authority. For the first time

in decades, the FIP imposes specific interstate-transport obligations on several new

industrial sources. FIP at 36,657–59, 36,654, 36,681, JA1554–1556, JA1578. Further,

the FIP expands the geographic scope of the program to include, for the first time,

Western States including Utah and Nevada. See Proposed FIP at 20,074, JA0513;

FIP at 36,717, JA1614. Also “for the first time” the FIP requires a surrounding State,

Utah, to account for emissions from “an existing EGU in Indian country not covered

by [the] state’s” regulatory authority. FIP at 36,802, JA1699.

      The FIP includes a severability provision that was not included in the

proposed rule. That provision states, without explanation, that the FIP is severable

along state or other jurisdictional lines. FIP at 36,693, JA1590.

      F.     The FIP is now a shell of EPA’s original plan.

      After finalizing the FIP, EPA continued to receive bad news in courts. To

date, every circuit to have considered staying a SIP disapproval—seven in total—has

granted a stay. The Sixth, Ninth, and Tenth Circuits joined the Fifth in concluding

that the States had a strong case that EPA’s SIP disapprovals were illegal. Order,

Kentucky v. EPA, Nos. 23-3216/3225, 2023 U.S. App. LEXIS 18981 at *10–11 (6th



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Cir. July 25, 2023); Order at 2, Nevada Cement Co. v. EPA, No. 23–682 (9th Cir. July

3, 2023); Order at 4, Utah v. EPA, No. 23-9509 (10th Cir. July 27, 2023). The Fourth

and Eleventh Circuits also stayed EPA’s actions to allow for further judicial review.

See Order, West Virginia v. EPA, 90 F.4th 323 (4th Cir. 2024); Order, Alabama v.

EPA, No. 23-11173 (11th Cir. Aug. 17, 2023). No circuit has yet decided the full

merits of the SIP-disapproval cases.

      Eventually, EPA acknowledged the effects of the above stays on the FIP. In

July and September, EPA issued interim final rules reacting to the judicial stays of

the SIP disapprovals. 88 Fed. Reg. 49,295 (July 31, 2023), JA1816; 88 Fed. Reg.

67,102 (Sept. 29, 2023), JA1831.

      As it now stands, the FIP—an “interdependent” plan designed for “23

upwind states,” see FIP at 36,656, 36,860, JA1553, JA1757—applies only to 11. That

means, compared to the FIP’s stated intent, it now regulates only 11% of the

emissions from power sources and about 40% of the emissions from industrial

sources. See EPA, Good Neighbor Plan for 2015 Ozone NAAQS (last updated June 30,

2023), computed from data maps available at https://www.epa.gov/csapr/good-

neighbor-plan-2015-ozone-naaqs. All in all, over 75% of the emissions that the FIP

originally set out to control are presently exempt from the FIP. See id.




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III.   Judicial review proceedings

       State Petitioners, as well as other interested parties, sought judicial review of

the FIP. After a divided panel of this Court denied several petitioners’ motions to

stay the FIP pending judicial review, Ohio, Indiana, and West Virginia, along with

private industry members, sought an emergency stay of the Final Rule at the

Supreme Court. The Court held oral argument on the consolidated stay applications

on February 21, 2024.

                            ARGUMENT SUMMARY

       This Court should set aside EPA’s unlawful action for four reasons.

       1. EPA acted arbitrarily, capriciously, and otherwise unlawfully because it

failed to consider an important factor during its decisionmaking: whether the FIP is

sound when applied in its current form to only a subset of the States the FIP set out

to regulate. This consideration stems from two reasons: (1) EPA’s authority under

the Clean Air Act to impose a FIP on a group of States hinges on prior predicate

rulemaking, the SIP disapprovals, see 42 U.S.C. §7410(c), and (2) EPA chose an

interdependent method that ties each State’s emissions budget to the other States.

Commenters warned that many States would likely drop out of the FIP because of

obvious flaws in the SIP disapprovals. Litigation and judicial stays quickly confirmed

as much.     Yet, EPA did not consider what effect the legal flaws in its SIP



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disapprovals—the legal predicates for the FIP—would have on the almost-

contemporaneously imposed FIP. The EPA’s failure to consider that important

aspect of the problem renders the FIP arbitrary and capricious.

      2. EPA’s inclusion of Utah and Nevada in the FIP is arbitrary and capricious.

First, EPA failed to explain its change in the treatment of Western States when it

analyzed significant contribution in the West using the four-step framework. This is

a stark change from EPA’s prior position that the framework works only for Eastern

States. Second, even after EPA developed the “weight-of-evidence” approach for

use on the Western States, it arbitrarily allowed that approach for Arizona and

Oregon while rejecting it for Utah and Nevada.

      3. EPA violated the Clean Air Act by combining emissions from Indian

country (the Uintah and Ouray Reservation) with emissions from sources in a

surrounding State (Utah) in determining whether the combined emissions resulted

in significant contribution.

      4. EPA’s trading program “enhancements” constitute unlawful overcontrol.

EPA confirmed that each State’s emissions budget under the FIP is stringent enough

to “fully eliminate” the regulated States’ interstate-transport obligations. Yet, EPA

included “enhancements” on the trading program that take allowances out of the

program to incentivize improved performance at individual sources. EPA has no



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authority to require additional emissions reductions when overall emissions budgets

already satisfy States’ interstate-transport obligations.

                                    STANDING

      State Petitioners have standing to challenge the Final Rule. There is “little

question that the rule … injure[s] the States because they” and sources within their

borders are directly regulated under the FIP. West Virginia v. EPA, 597 U.S. 697, 719

(2022). The States are thus “the object[s] of” the regulation. Id. (quoting Lujan v.

Defenders of Wildlife, 504 U. S. 555, 561–62 (1992)).

      The FIP also injures the States economically. It requires States to issue or

update permits for all covered sources (which now includes sources from nine new

industries) within their borders. See FIP at 36,843–44, JA1740–41. The permitting

process is resource intensive and lengthy. Issuing a single permit requires rounds of

drafting, staff review, public notice, public meetings, and responses to public

comments. Crowder Decl., JA2122–23 (¶¶41–43); Hodanbosi Decl., JA2094–95

(¶¶18–19). Because each permit is tailored uniquely to the needs of the regulated

facility, the States’ permitting authorities must conduct this resource-intensive

process for each permit. And States must ensure that covered sources adequately

monitor their emissions to assure compliance with the FIP. See FIP at 36,843,




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JA1740; 40 C.F.R. §70.4; Hodanbosi Decl., JA2097 (¶24); see Correspondence, (Aug.

23, 2023), https://perma.cc/83CB-9BZW.

       The FIP also threatens power and heating shortages. It regulates pipeline

engines for the first time under an interstate-transport rule. Pipelines have warned

that compliance with the FIP’s compressed timeline will result in natural-gas

shortages in metropolitan areas. Grubb Decl., JA2183–86 (¶¶66–67). And the FIP

imposes draconian emissions reductions on power sources that may force them to

prematurely shutter, compromising the reliability of the States’ power supply.

Experts have warned as much. See Hodanbosi Decl., JA2090–93 (¶¶7–15); Lane

Decl., JA2128–37 (¶¶5–14, 17–19, 22); Farah Decl., JA2141–2143 (¶¶10–15); PJM

Interconnection, Energy Transition in PJM: Resource Retirements, Replacements

& Risk (Feb. 24, 2023), https://perma.cc/PQA7-9P6K; see also North American

Electric Reliability Corporation, 2023 Summer Reliability Assessment Infographic

(May 2023) at 6, https://perma.cc/A9G6-B398. At minimum, these measures will

lead to higher retail electricity prices.

       The FIP also injures the States’ sovereign authority. By disapproving State

Petitioners’ SIPs and near-contemporaneously imposing a FIP, EPA effectively

prevented the State Petitioners from formulating their own plans to regulate air

quality within their borders. §7401(a)(3). By “commandeer[ing] the regulatory



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powers of the states,” EPA stripped them of their reserved, sovereign authority.

District of Columbia v. Train, 521 F.2d 971, 992 (D.C. Cir. 1975), vacated on other

grounds, EPA v. Brown, 431 U.S. 99 (1977).

      State Petitioners thus have standing to challenge the FIP because they are

harmed by the FIP, that harm is directly traceable to the FIP, and a favorable decision

by this Court would redress that harm. Notably, because State Petitioners “seek the

same relief on the same claim, only one needs to demonstrate standing.” Am. Lung

Ass’n v. EPA, 985 F.3d 914, 988, rev’d and remanded on other grounds, West Virginia

v. Env’t Prot. Agency, 597 U.S. 697 (2022).

                            STANDARD OF REVIEW

      This Court must “reverse” agency action that is “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law” or “in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right.” 42

U.S.C. §7607(d)(9), (A), (C). The standard of review “is the same” as that set by

the Administrative Procedure Act, 5 U.S.C. §706(2)(A)–(B). EME Homer City

Generation, L.P. v. EPA, 696 F.3d 7, 23 n.17 (D.C. Cir. 2012), rev’d on other grounds,

572 U.S. 489 (2014).




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                                   ARGUMENT

I.    EPA acted arbitrarily, capriciously, and exceeded its authority in
      imposing a twenty-three-state FIP without considering whether the
      interdependent plan remains reasonable when some States drop out.

      Although commenters warned, and litigation reinforced, that EPA lacked

authority to implement a twenty-three-state plan, EPA failed to consider whether

the FIP’s interdependent methodology remains sound when the FIP applies to only

a subset of the regulated States. Its failure to consider this critical problem renders

EPA’s action arbitrary and capricious.

      A.      An agency acts arbitrarily and capriciously when it fails to consider
              an important aspect of the problem and the regulatory environment
              it created.

      The Clean Air Act, which mirrors the Administrative Procedure Act, requires

federal courts to set aside agency action that is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 42 U.S.C. §7607(d); 5 U.S.C.

§706(2)(A).     This language directs “administrative agencies” to “engage in

reasoned decisionmaking.” Michigan v. EPA, 576 U.S. 743, 750 (2015) (quotations

omitted). Reasoned decisionmaking requires that “an agency’s decreed result be

within the scope of its lawful authority” and “the process by which it reaches that

result must be logical and rational.” Id. (quotations omitted). For its rule to be

logical and rational, the agency must consider all “relevant factors” in coming to its



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conclusion. Id. (quotations omitted). That requires an agency to be “aware[]” of

the surrounding context in which the agency’s rule operates and to “provide

reasoned explanation for [the] action.” FCC v. Fox TV Stations, Inc., 556 U.S. 502,

515 (2009). When an agency “entirely fail[s] to consider an important aspect of the

problem when deciding whether regulation is appropriate” the regulation must be

set aside as unlawful. Michigan, 576 U.S. at 752 (alterations accepted, quotations

omitted).

      It follows from these principles that an agency has an “obligation to

acknowledge and account for” the “regulatory posture the agency creates.”

Portland Cement Ass’n v. EPA, 665 F.3d 177, 187 (D.C. Cir. 2011) (per curiam); accord

Zen Magnets, LLC v. Consumer Prod. Safety Comm’n, 841 F.3d 1141, 1150 (10th Cir.

2016). Said another way, an agency cannot ignore the effects—or likely effects—of

“contemporaneous and closely related rulemaking,” especially its own. Portland

Cement Ass’n, 665 F.3d at 187. An agency must instead offer a “satisfactory

explanation,” which takes a “hard look” at any “salient problems” arising from the

regulatory landscape. Id. (quotations omitted). True, an agency “must promulgate

rules based on the information it currently possesses.” Id. But that does not give an

agency license to ignore “obvious” trends, see Zen Magnets, LLC, 841 F.3d at 1150,

particularly when those trends stem from the agency’s “own process,” see Portland



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Cement Ass’n, 665 F.3d at 187. More simply, administrative law requires that “an

agency’s right hand take account of what its left hand is doing.” Id.

      B.     EPA acted arbitrarily and capriciously in imposing an
             interdependent FIP without considering how litigation over
             predicate rulemaking would destabilize the FIP.

      Applying the just-discussed principles, EPA had an obligation to consider

“important aspects” of the problem the FIP purported to solve. Whether the FIP

would function correctly with lesser participation is one such “important aspect”

for two reasons: (1) the unique statutory posture that ties this rulemaking to prior

predicate rulemaking and (2) the interdependent method EPA chose that connects

each regulated State with the other. Put together, EPA had to regulate with eyes

wide open to the potential flaws in its SIP disapprovals. Without valid disapprovals,

the FIP’s interdependent methodology, which only works for twenty-three States, is

unsound. At minimum, EPA had to address whether the FIP still works when States

become exempt as their SIP disapprovals are paused. EPA failed to do so.

      Begin with this undisputed point: EPA has authority to impose a FIP for

twenty-three States only if it properly disapproved the SIPs of each of those States.

See 42 U.S.C. §7410(c)(1)(A). When EPA imposes a FIP close in time (here, near-

simultaneously) with the predicate SIP disapprovals, EPA has an obligation to

consider its authority to impose a FIP in that context.



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      EPA’s obligation to consider this prior predicate rulemaking was at its height

here because of a high likelihood that the SIP disapprovals would not stick. The flaws

with the SIP disapprovals were obvious. In disapproving the SIPs for twenty-one

States, EPA used non-statutory factors, relied on data unavailable to the States, and

contradicted its own earlier guidance. See Texas, 2023 WL 7204840, at *6–10.

Commenters alerted EPA to these flaws and the effect they would have on the FIP’s

uniformity when the Agency was still finalizing the FIP. Above at 14–15.

      Next, litigation over the SIP disapprovals brought the flaws raised in the

comment period to the Courts. Above at 13. Then Courts began to weigh in; the

Fifth Circuit granted a stay, and held the EPA’s actions were likely unlawful, before

EPA published the FIP in the Federal Register, and during the period when EPA had

a continuing obligation to avoid arbitrary and capricious action. Texas, 2023 WL

7204840, at *6–10. Other circuits had also stayed EPA’s actions by late spring,

before the FIP was published. Above at 15–16. Thus, by the time the FIP was

finalized through publication, there was a strong likelihood—if not a near certainty—

that it would not go into effect for all “23 upwind states,” as designed. FIP at 36,667,

JA1564. True, this Court has held that a rule is “promulgated” when it is “signed

and announced” to the public. American Petroleum Institute v. Costle, 609 F.2d 20,

24 (D.C. Cir. 1979). Even so, EPA has a separate statutory obligation to refrain from



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arbitrary and capricious “action.” §7607(d)(9). And agency “action” does not

become final until “the consummation of the agency’s decisionmaking process.”

Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (quotations omitted).

       All this was particularly problematic given the method EPA chose.

Anticipating that its FIP would cover almost half the nation, EPA used a multi-state

analysis to formulate an “efficient and equitable solution” that “apportion[s]

emissions reduction responsibilities among upwind states that are collectively

responsible for downwind air quality.” FIP at 36,719, JA1616 (quotations omitted).

Recall, also, that EPA selected a single cost-effective strategy—a point of

diminishing marginal returns on emissions reductions—for twenty-three States.

Above at 17–19. But EPA’s calculation of the cost-effective strategy depends on the

mix of States the agency is considering. Each State, after all, has its own unique

blend of industries that use a unique mix of technologies. Thus, when the mix of

States changes, the selected point of diminishing returns could also change.

Reinforcing this point, at oral argument before the Supreme Court, EPA’s counsel

conceded that he was unable to confirm with certainty that the “cost/benefit

analysis” would turn out the same with a different mix of States. Oral Arg. Tr.

52:07–52:59. Ultimately, EPA chose a method of calculating emissions budgets that

is sensitive to the States that go into calculating it.



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      To illustrate, for power sources, a plan tailored to Ohio, Indiana, and West

Virginia could apply a much cheaper technology breakpoint, at $1,600 cost-per-ton,

rather than the $11,000 cost-per-ton selected for the twenty-three State group. See

OTPA at JA1105 (Appendix A) at State 2026 (Row 47; Columns K–P). Take, for

that year, emissions produced by optimizing selective-catalytic reductors and state-

of-the-art combustion controls at $1,600 per ton for those three states (represented

by summing Column M for those three States). Id. The next costlier strategy

produces no additional emissions reductions (represented by summing Column N

for three States). Id. In other words, the strategy that costs $1,600 per ton is a cost-

effective point for power sources that EPA could have considered for that mix of

States. This example shows that what is cost-effective for twenty-three States may

not be so for a different mix of States because of their unique mix of technologies.

See FIP at 36,676, 36,677, 36,688, JA1573, JA1574, JA1585.

      Put together, EPA failed to consider an important factor during its

decisionmaking:    what effect the legal flaws in its near-contemporaneous SIP

disapprovals would have on the interdependent FIP’s continued effectiveness. EPA

had an obligation to ask whether a FIP premised on the participation of all regulated

States would remain an effective, “efficient[,] and equitable solution” when applied




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to only a subset of the States that it set out to regulate—a scenario that was not only

foreseeable but expected. Id. at 36,719, JA1616.

      EPA’s explanation revealed indifference to these considerations. Rather than

address the mounting damage to its assumptions, EPA uncritically proceeded under

the premise that the FIP would go into effect for all “23 upwind states.” Id. At best,

EPA added a barebones severability provision asserting, without analysis, that its

plan would be severable. Id. at 36,693, JA1590. That broad brush dodges the key

question of whether the FIP remains computationally sound and a fair and effective

division of emission-reduction responsibilities if applied to a subset of States. This

some-regulation-is-better-than-nothing approach falls short of the reasoned

decisionmaking required of agencies.          Had EPA stopped to consider lesser

participation, it would have created a contingency for the most obviously

interdependent program—the allowance trading program. But, consistent with its

head-in-the-sand approach to this problem, EPA has scrambled to adjust the

allowance-trading market with each interim final rule to reflect the current

composition of States. 88 Fed. Reg. at 49,296–97, JA1817–18; 88 Fed. Reg. at

67,103–04, JA1832–33.

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      The results serve as powerful confirmation of the problem. The FIP is now a

shell of its original self and falls far short of the emissions reductions that it set out

to accomplish. Currently, it regulates only about 11% of the emissions from electric-

generating units it intended to regulate and about 40% of emissions from industrial

sources it intended to regulate. See above at 21. More than 75% of the emissions that

the FIP set out to control are now exempt from the FIP. See id. It is unlikely that

EPA would have promulgated the FIP as it stands today.

      Lastly, in addition to being arbitrary and capricious, EPA’s action is unlawful

in one other respect: its near-contemporaneous imposition of a FIP alongside the

SIP disapprovals left the States with no “real choice” but to accept the FIP or to

prepare a materially identical SIP. Michigan v. EPA, 213 F.3d 663, 687 (D.C. Cir.

2000). Because the condensed timeline was designed to deprive the States of a

chance to correct the purported deficiencies in the SIP as the Act contemplates,

§§7410(c)(1)(B), (k)(5), EPA failed to engage in the cooperative federalism required

by the Act. See Koog v. United States, 79 F.3d 452, 462 (5th Cir. 1996). To the extent

Homer allows EPA to act on a timeline that prevents the States from participating in

a cooperative revision process, that contradicts the statute. Contra Homer, 572 U.S.

at 507–10. Because “only the Supreme Court can overrule its previous decisions,”




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however, State Petitioners preserve this issue for appeal. Taylor v. Buchanan, 4 F.4th

406, 410 (6th Cir. 2021) (Thapar, J., concurring).

II.   EPA’s inclusion of Utah and Nevada in the FIP was arbitrary and
      capricious.

      EPA’s inclusion of Utah and Nevada in the FIP was arbitrary and capricious

for three reasons. First, EPA failed to explain adequately its decision to use its four-

step framework for analyzing significant contributions in the West when that

decision represents a clear departure from EPA’s prior position that the framework

does not apply to Western States. Second, EPA arbitrarily chose to apply an

alternative weight-of-evidence approach for determining significant contributions

for Arizona and Oregon while rejecting without adequate explanation the same

approach for Utah and Nevada. Third, EPA unlawfully combined emissions from

Indian country with those of Utah in determining that the combined emissions

resulted in a significant contribution.

      A.     EPA failed to explain its change in the treatment of interstate-
             transport obligations in the West.

             1.     Assessing interstate-transport obligations in the West
                    requires distinct analytical considerations.

      EPA has long recognized that, with respect to ozone transport, the West is

unique. EPA has thus excluded Western States from prior interstate-transport

programs and applied a separate analytical approach to these States. For good


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reason. Western States are generally geographically larger and more sparsely

populated than Eastern States, resulting in smaller upwind contributions from

Western States individually and collectively.

      The West also faces unique regional conditions that complicate efforts to

reduce ozone levels and accurately model pollution contributions. Those unique

conditions include varied topography, higher altitude, elevated natural background

ozone levels, deep stratospheric intrusions, increased instances of wildfire,

significant biogenic contributions, and a greater influence of internationally

transported pollutants. EPA, Integrated Science Assessment for Ozone (Apr. 2020), at

JA0005, JA0008–9; Utah Dep’t of Env’t Quality Comments (June 21, 2022), at

JA0404–07; Berkshire Hathaway Energy Comments (June 21, 2022), at JA0452–53.

These factors are pronounced in Nevada and exacerbated in Utah and Colorado

because of the Rocky Mountains.

      EPA consistently recognized these fundamental differences over three

decades of interstate-transport rulemakings.

      From the very first interstate-transport rulemaking, EPA’s initial rule applied

exclusively to Eastern States. 63 Fed. Reg. 57,356 (Oct. 27, 1998). EPA was

unconcerned with the West, making only passing references to Western States in its

rulemaking. See id. at 57,372, 57,477, 57,486; 62 Fed. Reg. 60,318, 60,334–35, 60,375



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(Nov. 7, 1997). In the next rulemaking, EPA dismissed Western States with only

cursory analysis. See 70 Fed. Reg. 25,162, 25,169 (May 12, 2005).

      When EPA finalized CSAPR in 2011, the agency “identified a 37-state region

for the technical analysis, including all states east of the Rockies,” but expressly

excluded Western States because “the transport issues in the eastern United States

are analytically distinct.” 75 Fed. Reg. 45,210, 45,227 (Aug. 2, 2010) (emphasis

added); see also 76 Fed. Reg. 48,208 (Aug. 8, 2011).

      When EPA proposed the Cross-State-Air-Pollution-Rule Update for 2008-

ozone NAAQS (“CSAPR Update”) a few years later, it again limited the

rulemaking’s geographic scope to “states in the eastern U.S.,” noting that “[t]hese

rules did not address contributions in the 11 western contiguous United States.” 80

Fed. Reg. 75,706, 75,715 (Dec. 3, 2015). EPA explained that while modeling data

“shows that there are problem receptors in the West[,]” “[t]here may be additional

criteria to evaluate regarding collective contribution of transported air pollution in

the West” beyond the 1% threshold. Id.

      In 2016, EPA finalized its decision declining to extend the CSAPR Update to

Western States. EPA noted that “for western states” it “believes that there may be

geographically specific factors to consider in evaluating interstate ozone pollution

transport.” 81 Fed. Reg. 74,504, 74,523 (Oct. 26, 2016). EPA stated that it would



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begin working with the Western States case-by-case to assess whether emissions

from their States significantly contributed to downwind air-quality concerns. 81 Fed.

Reg. at 74,523. But, consistent with all prior rules, no Western States had emissions-

control obligations under the CSAPR Update. Id.

      Finally, neither 2018 nor 2021 rulemaking revisions expanded the geographic

scope of the interstate-transport program to the West. See 83 Fed. Reg. 65,878 (Dec.

21, 2018); 86 Fed. Reg. 23,054 (Apr. 30, 2021).

             2.    EPA failed to explain its abrupt change in course.

      The FIP, for the first time, imposes interstate-transport obligations on Utah,

Nevada, and other Western States. FIP at 36,775, JA1672. It does so using the four-

step framework discussed at length above. Above at 16–20.

      While “[a]gencies are free to change their existing policies,” Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016), “a reasoned explanation is

needed for disregarding facts and circumstances that underlay or were engendered

by the prior policy,” Fox TV, 556 U.S. at 516. More specifically, “the agency must

at least display awareness that it is changing position and show that there are good

reasons for the new policy.” Encino Motorcars, LLC, 579 U.S. at 221 (internal

quotation marks omitted).




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      EPA failed to meet that burden in the FIP. The FIP’s preamble does not even

acknowledge EPA’s change in approach: it noted only that the agency was extending

the geographic scope of the FIP to Utah and Nevada. FIP at 36,717, 36,775, JA1614,

JA1672.      In response to comments, EPA later conceded that “geographically

relevant factors … may warrant a different approach in the west,” but incorrectly

asserted that it has never articulated “what those factors might be or what different

approaches might be warranted.” RTC, JA1406–07. EPA doubled down on its

erroneous assertion that it used the four-step framework all along in the West. See

FIP at 36,717, JA1614. But EPA’s claim contradicts its consistent past practice of

declining to further analyze ozone transport in the West on grounds it is “analytically

distinct.”

      EPA’s failure to admit (or justify) its change in course renders the FIP

arbitrary and capricious. See Encino Motorcars, LLC, 579 U.S. at 222.

      B.       EPA arbitrarily applied the four-step framework to assess
               significant contribution for Utah and Nevada but not other Western
               States.

               1.   EPA has developed and applied a separate analytical
                    approach for interstate transport in the West.

      EPA’s previous actions belie its assertion that it always applied the four-step

framework to Western States. When considering contributions in the West, EPA

has developed and applied a “weight-of-evidence” approach, under which a wide


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range of factors are considered beyond the four-step framework. See 80 Fed. Reg. at

75,715; 81 Fed. Reg. 15,200 (Mar. 22, 2016); Proposed FIP at 20,075, JA0154; March

Memorandum, at 2, A-1.

      In approving Arizona’s SIP for the 2008-ozone NAAQS, EPA defined with

specificity how a weight-of-evidence approach should be applied. See 81 Fed. Reg.

at 15,203. When determining whether a Western State “should be considered to

significantly contribute to nonattainment or interfere with maintenance of the

NAAQS,” EPA examines “several factors ... including the air quality and

contribution modeling, receptor data, and the statewide measures reducing

emissions.” Id. As EPA noted, “no single piece of information is by itself dispositive

of the issue for purposes of this analysis ... [i]nstead, EPA has considered the total

weight of all the evidence taken together.” Id.

      One relevant factor was the “magnitude of ozone attributable to transport

from all upwind states collectively contributing to the air quality problem.” Id. EPA

concluded that removing the receptors to which Arizona was linked was appropriate

because “a 4.4% and 2.5% cumulative ozone contribution from all upwind states is

negligible, particularly when compared to the relatively large contributions from

upwind states in the East or in certain other areas of the West.” Id.




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      In the East, EPA had “found the total upwind states’ contribution to ozone

concentration (from linked and unlinked states) based on modeling for 2017 ranges

from 17% to 67% …, with between 4 and 12 states each contributing above 1% to the

downwind air quality problem.” Id. EPA also concluded that “Arizona has

demonstrated that both VOC and NOx emissions are going down and will continue

to go down.” Id.

      EPA extended that approach in the proposed FIP. Using a weight-of-evidence

analysis, EPA declined—when proposing the FIP—to propose interstate-transport

obligations for Oregon despite that State being linked to California receptors above

the 1% threshold. Proposed FIP at 20,074, JA0153. Oregon thus currently remains

exempt from the FIP’s obligations. FIP at 36,718, JA1615.

             2.    EPA arbitrarily applied the four-step framework to the
                   exclusion of the weight-of-evidence approach.

      Having developed and applied a weight-of-evidence approach to the West—

including in the proposed FIP—EPA nevertheless applied the four-step framework

in assessing Utah’s and Nevada’s impacts on downwind air quality in the FIP.

      EPA failed to explain adequately this decision. Relatedly, EPA failed to

explain adequately why it rejected an alternative weight-of-evidence approach for

Utah and Nevada. The agency did not express any objective criteria for its approach.

Nor did it reconcile its application of the alternative weight-of-evidence approach to


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Arizona and Oregon. See FIP at 36,717–18, JA1614–15. In short, EPA arbitrarily

applied two different approaches to Western States without adequate explanation.

      EPA acknowledges that “in some instances … a unique consideration has

warranted approval of a western state’s good neighbor SIP submittal that might

otherwise be found to contribute above 1 percent of the NAAQS.” 88 Fed. Reg. at

36,717. But EPA failed to assert any rational basis for rejecting that approach for

Utah and Nevada. EPA’s rationale boils down, to the extent it exists, to a conclusory

assertion that the 2.5%–4.4% collective upwind contribution in the Arizona SIP is

“marginal” (thus justifying application of the weight-of-evidence approach) while

the 6%–8% contribution in Utah’s case is not (thus requiring application of the four-

step framework). FIP at 36,718, JA1615.

      That is striking because the Eastern States’ collective contributions typically

range from 17% to 67%. 81 Fed. Reg. at 15,203. Utah’s collective contribution is

barely more than that at issue in Arizona’s SIP and two-to-eight times lower than

typical contributions in the East. Yet EPA inexplicably decided that Utah’s situation

looks more like the Eastern States’ than Arizona’s. EPA’s failure to “distinguish

‘prior orders in similar cases ... fails to satisfy the APA’s reasoned decisionmaking

requirement.’” Grayscale Invs., LLC v. SEC, 82 F.4th 1239, 1245 (D.C. Cir. 2023)

(citation omitted).



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      That failure is particularly pronounced because the assumptions underpinning

the second step in EPA’s four-step framework—the 1% threshold for establishing

linkages—do not exist in the West. Citing to past rulemaking, EPA emphasized in

the FIP that it “applies a relatively low contribution screening threshold because

many downwind ozone nonattainment and maintenance receptors receive transport

contributions from multiple upwind states.” FIP at 36,678, JA1575; see also id. at

36,712, JA1609. But in past rulemaking, EPA developed the 1% percent threshold for

establishing linkages “to account for the combined impact of relatively small

contributions from many upwind states” in the East. 76 Fed. Reg. at 48,237. But

EPA’s analysis presumes that the “‘collective contribution’ from upwind sources

represents a large portion of … ozone at downwind locations and that the total

amount of transport is composed of the individual contribution from numerous

upwind states.” Id.

      Those assumptions do not hold in the West—where few upwind States

contribute to nonattainment areas in the West and those upwind States have a

combined contribution that is considerably lower than in the Eastern States. For

instance, only three States (including Utah) are linked to downwind receptors in

Colorado with collective contributions from all upwind States ranging between 6%–

8%. See EPA, Air Quality Modeling Final Rule TSD, JA0850–64 (Appendices D and



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E). Similarly, only two States (including Nevada) are linked to downwind receptors

in Utah with collective contributions from all upwind States ranging between 4%–5%.

Id. For that reason, the key underlying rationale for the 1% contribution threshold

developed for Eastern States is not appropriate for assessing Utah’s and Nevada’s

potential impacts on downwind States.

      Simply put, EPA’s claim that the four-step framework “ensures both national

consistency across all states and consistency and continuity with our prior interstate

transport actions for other NAAQS,” FIP at 36,673, JA1570, cannot be squared with

its prior treatment of Western States, its previous recognition of fundamental

differences between interstate transport in the East and the West, and its key

assumptions that support the four-step framework.

      C.     EPA unlawfully included emissions from Indian country in Utah’s
             contribution analysis.

      The Clean Air Act authorizes EPA “to treat Indian tribes as States under this

Act.” §7601(d). Under that authority, EPA promulgated the Tribal Authority Rule,

63 Fed. Reg. 7,254 (Feb. 12, 1998), concluding that the Act “constitutes a statutory

grant of jurisdictional authority to tribes” such that “approved tribes [have]

authority over all air resources within the exterior boundaries of a reservation.” Id.

at 7,260. For the “provisions of the” Act “designed to address cross-boundary air

impacts,” EPA determined that “the prohibitions and authority contained in” the


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interstate-transport provision of the Act “apply to tribes in the same manner as

states.” Id.

      EPA also concluded that it has “broad authority to protect tribal air

resources” and that it would “protect air quality throughout Indian country by

directly implementing the Act’s requirements in instances where tribes choose not

to develop a program, fail to adopt an adequate program or fail to adequately

implement an air program.” Id. at 7,262 (cleaned up).

      In other words, Tribes are treated as sovereigns under the Act, akin to States.

Tribes may implement the Act’s requirements where approved by EPA. EPA

directly implements the Act’s requirements when a Tribe does not have an approved

program. States have no authority under the Act over Indian country and thus no

responsibility for emissions from them.

      Nonetheless, EPA proposed the FIP to “be applicable in all areas of Indian

country … within the covered geography of the proposal.” Proposed FIP at 20,059,

JA0138. EPA explained that “the geographic scope of coverage of the rule means

the areas of the United States encompassed within the borders of the States EPA has

determined to be linked at Steps 1 and 2 of the 4-step interstate transport

framework.” Id. Thus, all emissions within a State—those from State lands and

Tribal lands—were considered in assessing significant contribution in downwind



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States. Id. EPA observed that “only one existing … source is located within the

301(d) FIP areas: The Bonanza Power Plant, an EGU source, located on the Uintah

and Ouray Reservation, geographically located within the borders of Utah.” Id.

      Commenters asserted that it is unlawful for EPA to “summarily ‘lump’ Indian

country sources as an appendage to state jurisdictional sources.”             Deseret

Comments (June 23, 2022), JA0448. This combining is “patently improper.” Id. It

is akin to “‘annexing’ a state or group of states into a different state’s implementing

plan, administration, and procedure.” Id.

      EPA nevertheless combined State and Tribal emissions in assessing

significant contribution. See, e.g., FIP at 36,690, JA1587. The agency did not

respond to comments arguing that combining State and Tribal emissions was

unlawful. So, EPA made two errors in addressing emissions from Indian country.

      First, combining emissions from State and Indian country within the State in

determining significant contribution violates the Act, because Tribes must be treated

as States in implementing the interstate-transport provision. Here, EPA combined

emissions from Indian country (the Uintah and Ouray Reservation) with those of a

surrounding State (Utah) in determining whether the combined emissions resulted

in significant contribution. Combining emissions from two sovereign entities is




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unlawful, whether the two entities happen to be sovereign States or, in this case, a

sovereign State and a sovereign Tribe.

       Second, EPA’s combining State and Tribal emissions in assessing significant

contribution was arbitrary and capricious because EPA failed to address a key factor

raised by commenters—whether EPA may implement such a combined analysis

under the Act. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983).

III.   EPA’s “enhancements” improperly require emission reductions beyond
       levels needed to address significant contribution.

       EPA’s authority to implement interstate-transport requirements is limited to

regulating only the amount of emissions from one State that “contribute[s]

significantly to nonattainment in, or interfere[s] with maintenance by, any other

State.” §7410(a)(2)(D)(i)(I). But the FIP went much further, resulting in unlawful

overcontrol.

       The FIP confirms that each State’s emissions budget “will fully eliminate the

amount of emissions that constitute the covered states’ significant contribution to

nonattainment and interference with maintenance in downwind states[.]” FIP at

36,657, JA1554 (emphases added). But EPA articulated a new policy of layering

“enhancements” onto the allowance trading program, which effectively removes

available allowances and restricts existing units’ operational flexibility. That is


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impermissible because EPA may not “require a State to reduce its output of

pollution by more than is necessary to achieve attainment in every downwind State

to which it is linked.” Homer, 572 U.S. at 521.

      A closer look at each enhancement highlights the impermissible overcontrol.

      Dynamic Budgeting & Allowance Recalibration.        Starting in 2026, EPA’s

dynamic-budgeting process will annually adjust the State emissions to account for a

changing fleet. Although dynamic budgeting can only increase a State’s budgets

through 2029, starting in 2030, the process removes allocations for retiring EGUs

and accounts for other changes in the composition of the EGU fleet. FIP at 36,662,

JA1559. And the annual recalibration of banked allowances will constrain sources

from carrying over allowances from one control (trading) period to the next. Id. at

36,766–67, JA1663–64. EPA reasoned that despite the overall emissions reductions

associated with EGU retirements, those retirements will equate to a greater number

of available allowances, thereby “eroding the consequent incentives for [other]

sources to effectively control their emissions.” Id. at 36,763, JA1660.

      Backstop Daily Emissions Rates & Secondary Emissions Limits.          The final

enhancements would require certain coal-fired units to surrender three allowances

for every ton of emissions that exceed a pre-set backstop daily emissions rate and

impose a secondary emissions limitation for any unit found responsible for



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contributing to an exceedance of the State’s assurance level (currently 121% of the

State’s emissions budget). Id. at 36,769–70, JA1666–67. EPA stated these two

enhancements are designed to “improve emissions performance at the level of

individual units,” even if an individual unit has purchased allowances to meet its

required reductions. Id. at 36,767–68, JA1664–65.

      These enhancements implement EPA’s policy preferences in a manner that

reduces available allowances in State budgets “by more than the amount necessary

to achieve attainment in every downwind State to which it is linked.” Homer, 572

U.S. at 521; see also North Carolina v. EPA, 531 F.3d 896, 917 (D.C. Cir. 2008).

EPA’s assertion that these enhancements are not overcontrol because they are

intended to reflect “implementation program details” and not Step 3 “emissions

control stringency determinations,” FIP at 36,686, JA1583, defies logic. Trading

program emissions budgets and available allowances are based on EPA’s Step 3

determinations. EPA cannot hide behind “implementation program details” to

accomplish more emissions reductions than needed to alleviate significant

contribution. And although EPA purported to undertake an overcontrol analysis and

concluded there was no overcontrol, that analysis was conducted through 2026 only,

while enhancements such as dynamic budgeting only go into effect after 2026. See

FIP at 36,907, JA1804.



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      EPA further asserted that previous trading programs are “effective in

achieving overall reductions in emissions” but claimed that they “may not fully

reflect in perpetuity” the necessary emissions stringency and “may not adequately

ensure control of emissions throughout all days of the ozone season.” Id. at 36,684,

JA1581 (emphases added). But such hypothetical concerns do not provide a rational

basis for imposing “enhancements” across the entire trading program. Homer, 572

U.S. at 523; FIP at 36,688, JA1585. Indeed, a “degree of imprecision is inevitable,”

due to unanticipated events such as “[s]light changes in wind patterns or energy

consumption ... in ways EPA might not have anticipated.” Homer, 572 U.S. at 523.

Constraining allocations in all States below levels determined through EPA’s

significant-contribution analysis based on hypothetical concerns about under-control

in a few States would swallow the prohibition against overcontrol. See id. at 522. 1

                                  CONCLUSION

      The Court should vacate the Final Rule.




1
 EPA also conceded that, except for three States, all other “linked states … are
projected to continue to be linked to nonattainment or maintenance receptors after”
implementing the FIP, FIP at 36,750, JA1647. But EPA imposed heavy compliance
burdens on an accelerated timeline anyway without resolving the States’ significant
contributions to downwind air pollution. Because these “reductions” fail to achieve
“downwind attainment anywhere,” they constitute unlawful overcontrol. Homer,
572 U.S. at 522.

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 Dated: April 1, 2024.                Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed R. App. P. 32(f) and (g), I hereby certify that the foregoing

complies with the Court’s December 4, 2023 Order because it contains 10,351

words, excluding exempted portions, according to the count of Microsoft Word.

      I further certify that the motion complies with Fed. R. App. P. 27(d)(1)(E),

32(a)(5) and (6) because it has been prepared in 14-point Equity Font.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 22, 2024, I caused the foregoing to be

electrically filed with the Clerk of the Court by using the Court’s CM/ECF system.

All registered counsel will be served by the Court’s CM/ECF system.

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                 ORAL ARGUMENT NOT YET SCHEDULED
                        No. 23-1157 (and consolidated cases)
             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

   State of Utah, by and through its Governor, Spencer J. Cox, and its Attorney
                             General, Sean D. Reyes,
                                     Petitioner,
                                           v.
  Environmental Protection Agency and Michael S. Regan, in his official capacity,
         as Administrator of the U.S. Environmental Protection Agency,
                                  Respondents.
  On Petition for Review of Action by the U.S. Environmental Protection Agency

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                PRIMARY STATUTES AND REGULATIONS

42 U.S.C. §7410, provides:

   (a) Adoption of plan by State; submission to Administrator; content of
   plan; revision; new sources; indirect source review program; supple-
   mental or intermittent control systems

      (1) Each State shall, after reasonable notice and public hearings, adopt
      and submit to the Administrator, within 3 years (or such shorter period
      as the Administrator may prescribe) after the promulgation of a na-
      tional primary ambient air quality standard (or any revision thereof) un-
      der section 7409 of this title for any air pollutant, a plan which provides
      for implementation, maintenance, and enforcement of such primary
      standard in each air quality control region (or portion thereof) within
      such State. In addition, such State shall adopt and submit to the Ad-
      ministrator (either as a part of a plan submitted under the preceding
      sentence or separately) within 3 years (or such shorter period as the Ad-
      ministrator may prescribe) after the promulgation of a national ambient
      air quality secondary standard (or revision thereof), a plan which pro-
      vides for implementation, maintenance, and enforcement of such sec-
      ondary standard in each air quality control region (or portion thereof)
      within such State. Unless a separate public hearing is provided,
      each State shall consider its plan implementing such secondary stand-
      ard at the hearing required by the first sentence of this paragraph.

      (2) Each implementation plan submitted by a State under this chapter
      shall be adopted by the State after reasonable notice and public hearing.
      Each such plan shall—

         (A) include enforceable emission limitations and other control
         measures, means, or techniques (including economic incentives
         such as fees, marketable permits, and auctions of emissions rights),
         as well as schedules and timetables for compliance, as may be neces-
         sary or appropriate to meet the applicable requirements of this chap-
         ter;

         (B) provide for establishment and operation of appropriate devices,
         methods, systems, and procedures necessary to—

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           (i) monitor, compile, and analyze data on ambient air quality, and

           (ii) upon request, make such data available to the Administrator;

        (C) include a program to provide for the enforcement of the
        measures described in subparagraph (A), and regulation of the mod-
        ification and construction of any stationary source within the areas
        covered by the plan as necessary to assure that national ambient air
        quality standards are achieved, including a permit program as re-
        quired in parts C and D;

        (D) contain adequate provisions—

           (i) prohibiting, consistent with the provisions of this subchapter,
           any source or other type of emissions activity within
           the State from emitting any air pollutant in amounts which
           will—

              (I) contribute significantly to nonattainment in, or interfere
              with maintenance by, any other State with respect to any such
              national primary or secondary ambient air quality standard, or

              (II) interfere with measures required to be included in the ap-
              plicable implementation plan for any other State under part C
              to prevent significant deterioration of air quality or to protect
              visibility,

           (ii) insuring compliance with the applicable requirements of sec-
           tions 7426 and 7415 of this title (relating to interstate and inter-
           national pollution abatement);

        (E) provide (i) necessary assurances that the State (or, except where
        the Administrator deems inappropriate, the general purpose local
        government or governments, or a regional agency designated by
        the State or general purpose local governments for such purpose)
        will have adequate personnel, funding, and authority un-
        der State (and, as appropriate, local) law to carry out such imple-
        mentation plan (and is not prohibited by any provision of Federal
        or State law from carrying out such implementation plan or portion
        thereof), (ii) requirements that the State comply with the

                                                                                  Add.2
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        requirements respecting State boards under section 7428 of this ti-
        tle, and (iii) necessary assurances that, where the State has relied on
        a local or regional government, agency, or instrumentality for the
        implementation of any plan provision, the State has responsibility
        for ensuring adequate implementation of such plan provision;

        (F) require, as may be prescribed by the Administrator—

           (i) the installation, maintenance, and replacement of equipment,
           and the implementation of other necessary steps, by owners or
           operators of stationary sources to monitor emissions from such
           sources,

           (ii) periodic reports on the nature and amounts of emissions and
           emissions-related data from such sources, and

           (iii) correlation of such reports by the State agency with
           any emission limitations or standards established pursuant to this
           chapter, which reports shall be available at reasonable times for
           public inspection;

        (G) provide for authority comparable to that in section 7603 of this
        title and adequate contingency plans to implement such authority;

        (H) provide for revision of such plan—

           (i) from time to time as may be necessary to take account of re-
           visions of such national primary or secondary ambient air quality
           standard or the availability of improved or more expeditious
           methods of attaining such standard, and

           (ii) except as provided in paragraph (3)(C), whenever the Ad-
           ministrator finds on the basis of information available to the Ad-
           ministrator that the plan is substantially inadequate to attain the
           national ambient air quality standard which it implements or to
           otherwise comply with any additional requirements established
           under this chapter;

        (I) in the case of a plan or plan revision for an area designated as a
        nonattainment area, meet the applicable requirements of part D (re-
        lating to nonattainment areas);
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        (J) meet the applicable requirements of section 7421 of this title (re-
        lating to consultation), section 7427 of this title (relating to public
        notification), and part C (relating to prevention of significant deteri-
        oration of air quality and visibility protection);

        (K) provide for—

            (i) the performance of such air quality modeling as the Adminis-
            trator may prescribe for the purpose of predicting the effect on
            ambient air quality of any emissions of any air pollutant for which
            the Administrator has established a national ambient air quality
            standard, and

            (ii) the submission, upon request, of data related to such air qual-
            ity modeling to the Administrator;

        (L)require the owner or operator of each major stationary source to
        pay to the permitting authority, as a condition of any permit required
        under this chapter, a fee sufficient to cover—

            (i) the reasonable costs of reviewing and acting upon any appli-
            cation for such a permit, and

            (ii) if the owner or operator receives a permit for such source,
            the reasonable costs of implementing and enforcing the terms
            and conditions of any such permit (not including any court costs
            or other costs associated with any enforcement action),

            until such fee requirement is superseded with respect to such
            sources by the Administrator’s approval of a fee program under
            subchapter V; and

        (M) provide for consultation and participation by local political sub-
        divisions affected by the plan.

      (3)

        (A) Repealed. Pub. L. 101–549, title I, § 101(d)(1), Nov. 15,
        1990, 104 Stat. 2409.

        (B) As soon as practicable, the Administrator shall, consistent with

                                                                                   Add.4
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            the purposes of this chapter and the Energy Supply and Environ-
            mental Coordination Act of 1974 [15 U.S.C. 791 et seq.], review
            each State’s applicable implementation plans and report to
            the State on whether such plans can be revised in relation to fuel
            burning stationary sources (or persons supplying fuel to such
            sources) without interfering with the attainment and maintenance of
            any national ambient air quality standard within the period permit-
            ted in this section. If the Administrator determines that any such
            plan can be revised, he shall notify the State that a plan revision may
            be submitted by the State. Any plan revision which is submitted by
            the State shall, after public notice and opportunity for public hear-
            ing, be approved by the Administrator if the revision relates only to
            fuel burning stationary sources (or persons supplying fuel to such
            sources), and the plan as revised complies with paragraph (2) of this
            subsection. The Administrator shall approve or disapprove any re-
            vision no later than three months after its submission.

            (C) Neither the State, in the case of a plan (or portion thereof) ap-
            proved under this subsection, nor the Administrator, in the case of
            a plan (or portion thereof) promulgated under subsection (c), shall
            be required to revise an applicable implementation plan because one
            or more exemptions under section 7418 of this title (relating to Fed-
            eral facilities), enforcement orders under section 7413(d) [1] of this
            title, suspensions under subsection (f) or (g) (relating to temporary
            energy or economic authority), orders under section 7419 of this ti-
            tle (relating to primary nonferrous smelters), or extensions of com-
            pliance in decrees entered under section 7413(e) [1] of this title (re-
            lating to iron- and steel-producing operations) have been granted, if
            such plan would have met the requirements of this section if no such
            exemptions, orders, or extensions had been granted.

      (4) Repealed. Pub. L. 101–549, title I, § 101(d)(2), Nov. 15, 1990, 104
      Stat. 2409.

      (5)

            (A)

               (i) Any State may include in a State implementation plan, but

                                                                                      Add.5
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           the Administrator may not require as a condition of approval of
           such plan under this section, any indirect source review program.
           The Administrator may approve and enforce, as part of an appli-
           cable implementation plan, an indirect source review pro-
           gram which the State chooses to adopt and submit as part of its
           plan.

           (ii) Except as provided in subparagraph (B), no plan promul-
           gated by the Administrator shall include any indirect source re-
           view program for any air quality control region, or portion
           thereof.

           (iii) Any State may revise an applicable implementation plan ap-
           proved under this subsection to suspend or revoke any such pro-
           gram included in such plan, provided that such plan meets the
           requirements of this section.

        (B) The Administrator shall have the authority to promulgate, im-
        plement and enforce regulations under subsection (c) respecting in-
        direct source review programs which apply only to federally assisted
        highways, airports, and other major federally assisted indirect
        sources and federally owned or operated indirect sources.

        (C) For purposes of this paragraph, the term “indirect source”
        means a facility, building, structure, installation, real property, road,
        or highway which attracts, or may attract, mobile sources of pollu-
        tion. Such term includes parking lots, parking garages, and other fa-
        cilities subject to any measure for management of parking sup-
        ply (within the meaning of subsection (c)(2)(D)(ii)), including regu-
        lation of existing off-street parking but such term does not include
        new or existing on-street parking. Direct emissions sources or facil-
        ities at, within, or associated with, any indirect source shall not be
        deemed indirect sources for the purpose of this paragraph.

        (D) For purposes of this paragraph the term “indirect source review
        program” means the facility-by-facility review of indirect sources of
        air pollution, including such measures as are necessary to assure, or
        assist in assuring, that a new or modified indirect source will not at-
        tract mobile sources of air pollution, the emissions from which

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         would cause or contribute to air pollution concentrations—

            (i) exceeding any national primary ambient air quality standard
            for a mobile source-related air pollutant after the primary stand-
            ard attainment date, or

            (ii) preventing maintenance of any such standard after such date.

         (E) For purposes of this paragraph and paragraph (2)(B), the term
         “transportation control measure” does not include any measure
         which is an “indirect source review program”.

      (6) No State plan shall be treated as meeting the requirements of this
      section unless such plan provides that in the case of any source which
      uses a supplemental, or intermittent control system for purposes of
      meeting the requirements of an order under section 7413(d) 1 of this ti-
      tle or section 7419 of this title (relating to primary nonferrous smelter
      orders), the owner or operator of such source may not temporarily re-
      duce the pay of any employee by reason of the use of such supplemental
      or intermittent or other dispersion dependent control system.

   (b) Extension of period for submission of plans

   The Administrator may, wherever he determines necessary, extend the
   period for submission of any plan or portion thereof which implements a
   national secondary ambient air quality standard for a period not to exceed
   18 months from the date otherwise required for submission of such plan.

   (c) Preparation and publication by Administrator of proposed regula-
   tions setting forth implementation plan; transportation regulations
   study and report; parking surcharge; suspension authority; plan im-
   plementation

      (1) The Administrator shall promulgate a Federal implementation
      plan at any time within 2 years after the Administrator—

         (A) finds that a State has failed to make a required submission or
         finds that the plan or plan revision submitted by the State does not
         satisfy the minimum criteria established under subsection (k)(1)(A),
         or

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        (B) disapproves a State implementation plan submission in whole or
        in part,

        unless the State corrects the deficiency, and the Administrator ap-
        proves the plan or plan revision, before the Administrator promul-
        gates such Federal implementation plan.

      (2)

        (A) Repealed. Pub. L. 101–549, title I, § 101(d)(3)(A), Nov. 15,
        1990, 104 Stat. 2409.

        (B) No parking surcharge regulation may be required by the Admin-
        istrator under paragraph (1) of this subsection as a part of an appli-
        cable implementation plan. All parking surcharge regulations previ-
        ously required by the Administrator shall be void upon June 22,
        1974. This subparagraph shall not prevent the Administrator from
        approving parking surcharges if they are adopted and submitted by
        a State as part of an applicable implementation plan. The Adminis-
        trator may not condition approval of any implementation plan sub-
        mitted by a State on such plan’s including a parking surcharge regu-
        lation.

        (C) Repealed. Pub. L. 101–549, title I, § 101(d)(3)(B), Nov. 15,
        1990, 104 Stat. 2409.

        (D) For purposes of this paragraph—

            (i) The term “parking surcharge regulation” means a regulation
            imposing or requiring the imposition of any tax, surcharge, fee,
            or other charge on parking spaces, or any other area used for the
            temporary storage of motor vehicles.

            (ii) The term “management of parking supply” shall include any
            requirement providing that any new facility containing a given
            number of parking spaces shall receive a permit or other prior ap-
            proval, issuance of which is to be conditioned on air quality con-
            siderations.

            (iii) The term “preferential bus/carpool lane” shall include any
            requirement for the setting aside of one or more lanes of a street
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               or highway on a permanent or temporary basis for the exclusive
               use of buses or carpools, or both.

            (E) No standard, plan, or requirement, relating to management of
            parking supply or preferential bus/carpool lanes shall be promul-
            gated after June 22, 1974, by the Administrator pursuant to this sec-
            tion, unless such promulgation has been subjected to at least one
            public hearing which has been held in the area affected and for which
            reasonable notice has been given in such area. If substantial changes
            are made following public hearings, one or more additional hearings
            shall be held in such area after such notice.

      (3) Upon application of the chief executive officer of any general pur-
      pose unit of local government, if the Administrator determines that
      such unit has adequate authority under State or local law, the Adminis-
      trator may delegate to such unit the authority to implement and enforce
      within the jurisdiction of such unit any part of a plan promulgated under
      this subsection. Nothing in this paragraph shall prevent the Adminis-
      trator from implementing or enforcing any applicable provision of a
      plan promulgated under this subsection.

      (4) Repealed. Pub. L. 101–549, title I, § 101(d)(3)(C), Nov. 15,
      1990, 104 Stat. 2409.

      (5)

         (A) Any measure in an applicable implementation plan which re-
         quires a toll or other charge for the use of a bridge located entirely
         within one city shall be eliminated from such plan by the Adminis-
         trator upon application by the Governor of the State, which applica-
         tion shall include a certification by the Governor that he will revise
         such plan in accordance with subparagraph (B).

         (B) In the case of any applicable implementation plan with respect
         to which a measure has been eliminated under subparagraph (A),
         such plan shall, not later than one year after August 7, 1977, be re-
         vised to include comprehensive measures to:

               (i) establish, expand, or improve public transportation measures
               to meet basic transportation needs, as expeditiously as is

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            practicable; and

            (ii) implement transportation control measures necessary to at-
            tain and maintain national ambient air quality standards,

         and such revised plan shall, for the purpose of implementing such
         comprehensive public transportation measures, include require-
         ments to use (insofar as is necessary) Federal grants, State or local
         funds, or any combination of such grants and funds as may be con-
         sistent with the terms of the legislation providing such grants and
         funds. Such measures shall, as a substitute for the tolls or charges
         eliminated under subparagraph (A), provide for emissions reduc-
         tions equivalent to the reductions which may reasonably be expected
         to be achieved through the use of the tolls or charges eliminated.

         (C) Any revision of an implementation plan for purposes of meeting
         the requirements of subparagraph (B) shall be submitted in coordi-
         nation with any plan revision required under part D.

   (d), (e) Repealed. Pub. L. 101–549, title I, § 101(d)(4), (5), Nov. 15,
   1990, 104 Stat. 2409

   (f) National or regional energy emergencies; determination by Presi-
   dent

      (1) Upon application by the owner or operator of a fuel burning station-
      ary source, and after notice and opportunity for public hearing, the Gov-
      ernor of the State in which such source is located may petition the Pres-
      ident to determine that a national or regional energy emergency exists
      of such severity that—

         (A) a temporary suspension of any part of the applicable implemen-
         tation plan or of any requirement under section 7651j of this ti-
         tle (concerning excess emissions penalties or offsets) may be neces-
         sary, and

         (B) other means of responding to the energy emergency may be in-
         adequate.

         Such determination shall not be delegable by the President to any
         other person. If the President determines that a national or regional
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         energy emergency of such severity exists, a temporary emergency
         suspension of any part of an applicable implementation plan or of
         any requirement under section 7651j of this title (concerning excess
         emissions penalties or offsets) adopted by the State may be issued by
         the Governor of any State covered by the President’s determination
         under the condition specified in paragraph (2) and may take effect
         immediately.

      (2) A temporary emergency suspension under this subsection shall be
      issued to a source only if the Governor of such State finds that—

         (A) there exists in the vicinity of such source a temporary energy
         emergency involving high levels of unemployment or loss of neces-
         sary energy supplies for residential dwellings; and

         (B) such unemployment or loss can be totally or partially alleviated
         by such emergency suspension.

         Not more than one such suspension may be issued for any source on
         the basis of the same set of circumstances or on the basis of the same
         emergency.

      (3) A temporary emergency suspension issued by a Governor under
      this subsection shall remain in effect for a maximum of four months or
      such lesser period as may be specified in a disapproval order of the Ad-
      ministrator, if any. The Administrator may disapprove such suspension
      if he determines that it does not meet the requirements of paragraph
      (2).

      (4) This subsection shall not apply in the case of a plan provision or
      requirement promulgated by the Administrator under subsection (c) of
      this section, but in any such case the President may grant a temporary
      emergency suspension for a four month period of any such provision or
      requirement if he makes the determinations and findings specified in
      paragraphs (1) and (2).

      (5) The Governor may include in any temporary emergency suspension
      issued under this subsection a provision delaying for a period identical
      to the period of such suspension any compliance schedule (or incre-
      ment of progress) to which such source is subject under section 1857c–

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      10 1 of this title, as in effect before August 7, 1977, or section 7413(d) 1 of
      this title, upon a finding that such source is unable to comply with such
      schedule (or increment) solely because of the conditions on the basis of
      which a suspension was issued under this subsection.

   (g) Governor’s authority to issue temporary emergency suspensions

      (1) In the case of any State which has adopted and submitted to the Ad-
      ministrator a proposed plan revision which the State determines—

         (A) meets the requirements of this section, and

         (B) is necessary (i) to prevent the closing for one year or more of any
         source of air pollution, and (ii) to prevent substantial increases in
         unemployment which would result from such closing, and

         which the Administrator has not approved or disapproved under
         this section within 12 months of submission of the proposed plan re-
         vision, the Governor may issue a temporary emergency suspension
         of the part of the applicable implementation plan for
         such State which is proposed to be revised with respect to such
         source. The determination under subparagraph (B) may not be made
         with respect to a source which would close without regard to
         whether or not the proposed plan revision is approved.

      (2) A temporary emergency suspension issued by a Governor under
      this subsection shall remain in effect for a maximum of four months or
      such lesser period as may be specified in a disapproval order of the Ad-
      ministrator. The Administrator may disapprove such suspension if he
      determines that it does not meet the requirements of this subsection.

      (3) The Governor may include in any temporary emergency suspension
      issued under this subsection a provision delaying for a period identical
      to the period of such suspension any compliance schedule (or incre-
      ment of progress) to which such source is subject under section 1857c–
      10 1 of this title as in effect before August 7, 1977, or under section
      7413(d) 1 of this title upon a finding that such source is unable to comply
      with such schedule (or increment) solely because of the conditions on
      the basis of which a suspension was issued under this subsection.


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   (h) Publication of comprehensive document for each State setting
   forth requirements of applicable implementation plan

      (1) Not later than 5 years after November 15, 1990, and every 3 years
      thereafter, the Administrator shall assemble and publish a comprehen-
      sive document for each State setting forth all requirements of the appli-
      cable implementation plan for such State and shall publish notice in the
      Federal Register of the availability of such documents.

      (2) The Administrator may promulgate such regulations as may be rea-
      sonably necessary to carry out the purpose of this subsection.

   (i) Modification of requirements prohibited

   Except for a primary nonferrous smelter order under section 7419 of this
   title, a suspension under subsection (f) or (g) (relating to emergency sus-
   pensions), an exemption under section 7418 of this title (relating to certain
   Federal facilities), an order under section 7413(d) 1 of this title (relating to
   compliance orders), a plan promulgation under subsection (c), or a plan
   revision under subsection (a)(3); no order, suspension, plan revision, or
   other action modifying any requirement of an applicable implementation
   plan may be taken with respect to any stationary source by the State or by
   the Administrator.

   (j) Technological systems of continuous emission reduction on new or
   modified stationary sources; compliance with performance standards

   As a condition for issuance of any permit required under this subchapter,
   the owner or operator of each new or modified stationary source which is
   required to obtain such a permit must show to the satisfaction of the per-
   mitting authority that the technological system of continuous emission re-
   duction which is to be used at such source will enable it to comply with the
   standards of performance which are to apply to such source and that the
   construction or modification and operation of such source will be in com-
   pliance with all other requirements of this chapter.

   (k) Environmental Protection Agency action on plan submissions

      (1) Completeness of plan submissions

         (A) Completeness criteria
                                                                                  Add.13
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         Within 9 months after November 15, 1990, the Administrator shall
         promulgate minimum criteria that any plan submission must meet
         before the Administrator is required to act on such submission un-
         der this subsection. The criteria shall be limited to the information
         necessary to enable the Administrator to determine whether the
         plan submission complies with the provisions of this chapter.

         (B) Completeness finding

         Within 60 days of the Administrator’s receipt of a plan or plan revi-
         sion, but no later than 6 months after the date, if any, by which
         a State is required to submit the plan or revision, the Administra-
         tor shall determine whether the minimum criteria established pur-
         suant to subparagraph (A) have been met. Any plan or plan revision
         that a State submits to the Administrator, and that has not been de-
         termined by the Administrator (by the date 6 months after receipt of
         the submission) to have failed to meet the minimum criteria estab-
         lished pursuant to subparagraph (A), shall on that date be deemed
         by operation of law to meet such minimum criteria.

         (C) Effect of finding of incompleteness

         Where the Administrator determines that a plan submission (or part
         thereof) does not meet the minimum criteria established pursuant to
         subparagraph (A), the State shall be treated as not having made the
         submission (or, in the Administrator’s discretion, part thereof).

      (2) Deadline for action

      Within 12 months of a determination by the Administrator (or a deter-
      mination deemed by operation of law) under paragraph (1) that
      a State has submitted a plan or plan revision (or, in the Administrator’s
      discretion, part thereof) that meets the minimum criteria established
      pursuant to paragraph (1), if applicable (or, if those criteria are not ap-
      plicable, within 12 months of submission of the plan or revision),
      the Administrator shall act on the submission in accordance with para-
      graph (3).

      (3) Full and partial approval and disapproval


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      In the case of any submittal on which the Administrator is required to
      act under paragraph (2), the Administrator shall approve such submit-
      tal as a whole if it meets all of the applicable requirements of this chap-
      ter. If a portion of the plan revision meets all the applicable require-
      ments of this chapter, the Administrator may approve the plan revision
      in part and disapprove the plan revision in part. The plan revision shall
      not be treated as meeting the requirements of this chapter until the Ad-
      ministrator approves the entire plan revision as complying with the ap-
      plicable requirements of this chapter.

      (4) Conditional approval

      The Administrator may approve a plan revision based on a commit-
      ment of the State to adopt specific enforceable measures by a date cer-
      tain, but not later than 1 year after the date of approval of the plan revi-
      sion. Any such conditional approval shall be treated as a disapproval if
      the State fails to comply with such commitment.

      (5) Calls for plan revisions

      Whenever the Administrator finds that the applicable implementation
      plan for any area is substantially inadequate to attain or maintain the
      relevant national ambient air quality standard, to mitigate adequately
      the interstate pollutant transport described in section 7506a of this ti-
      tle or section 7511c of this title, or to otherwise comply with any require-
      ment of this chapter, the Administrator shall require the State to revise
      the plan as necessary to correct such inadequacies. The Administra-
      tor shall notify the State of the inadequacies, and may establish reason-
      able deadlines (not to exceed 18 months after the date of such notice)
      for the submission of such plan revisions. Such findings and notice shall
      be public. Any finding under this paragraph shall, to the extent the Ad-
      ministrator deems appropriate, subject the State to the requirements of
      this chapter to which the State was subject when it developed and sub-
      mitted the plan for which such finding was made, except that the Ad-
      ministrator may adjust any dates applicable under such requirements as
      appropriate (except that the Administrator may not adjust any attain-
      ment date prescribed under part D, unless such date has elapsed).

      (6) Corrections

                                                                                 Add.15
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      Whenever the Administrator determines that the Administrator’s ac-
      tion approving, disapproving, or promulgating any plan or plan revision
      (or part thereof), area designation, redesignation, classification, or re-
      classification was in error, the Administrator may in the same manner
      as the approval, disapproval, or promulgation revise such action as ap-
      propriate without requiring any further submission from
      the State. Such determination and the basis thereof shall be provided to
      the State and public.

   (l) Plan revisions

   Each revision to an implementation plan submitted by a State under this
   chapter shall be adopted by such State after reasonable notice and public
   hearing. The Administrator shall not approve a revision of a plan if the re-
   vision would interfere with any applicable requirement concerning attain-
   ment and reasonable further progress (as defined in section 7501 of this ti-
   tle), or any other applicable requirement of this chapter.

   (m) Sanctions

   The Administrator may apply any of the sanctions listed in section 7509(b)
   of this title at any time (or at any time after) the Administrator makes a
   finding, disapproval, or determination under paragraphs (1) through (4),
   respectively, of section 7509(a) of this title in relation to any plan or plan
   item (as that term is defined by the Administrator) required under this
   chapter, with respect to any portion of the State the Administrator deter-
   mines reasonable and appropriate, for the purpose of ensuring that the re-
   quirements of this chapter relating to such plan or plan item are met.
   The Administrator shall, by rule, establish criteria for exercising his au-
   thority under the previous sentence with respect to any deficiency referred
   to in section 7509(a) of this title to ensure that, during the 24-month period
   following the finding, disapproval, or determination referred to in section
   7509(a) of this title, such sanctions are not applied on a statewide basis
   where one or more political subdivisions covered by the applicable imple-
   mentation plan are principally responsible for such deficiency.

   (n) Savings clauses

      (1) Existing plan provisions


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      Any provision of any applicable implementation plan that was approved
      or promulgated by the Administrator pursuant to this section as in ef-
      fect before November 15, 1990, shall remain in effect as part of such ap-
      plicable implementation plan, except to the extent that a revision to
      such provision is approved or promulgated by the Administrator pursu-
      ant to this chapter.

      (2) Attainment dates

      For any area not designated nonattainment, any plan or plan revision
      submitted or required to be submitted by a State—

         (A) in response to the promulgation or revision of a national primary
         ambient air quality standard in effect on November 15, 1990, or

         (B) in response to a finding of substantial inadequacy under subsec-
         tion (a)(2) (as in effect immediately before November 15, 1990),

         shall provide for attainment of the national primary ambient air qual-
         ity standards within 3 years of November 15, 1990, or within 5 years
         of issuance of such finding of substantial inadequacy, whichever is
         later.

      (3) Retention of construction moratorium in certain areas

      In the case of an area to which, immediately before November 15, 1990,
      the prohibition on construction or modification of major stationary
      sources prescribed in subsection (a)(2)(I) (as in effect immediately be-
      fore November 15, 1990) applied by virtue of a finding of the Adminis-
      trator that the State containing such area had not submitted an imple-
      mentation plan meeting the requirements of section 7502(b)(6) of this
      title (relating to establishment of a permit program) (as in effect imme-
      diately before November 15, 1990) or 7502(a)(1) of this title (to the ex-
      tent such requirements relate to provision for attainment of the primary
      national ambient air quality standard for sulfur oxides by December 31,
      1982) as in effect immediately before November 15, 1990, no major sta-
      tionary source of the relevant air pollutant or pollutants shall be con-
      structed or modified in such area until the Administrator finds that the
      plan for such area meets the applicable requirements of section
      7502(c)(5) of this title (relating to permit programs) or subpart 5 of part

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      D (relating to attainment of the primary national ambient air quality
      standard for sulfur dioxide), respectively.

   (o) Indian tribes

   If an Indian tribe submits an implementation plan to the Administra-
   tor pursuant to section 7601(d) of this title, the plan shall be reviewed in
   accordance with the provisions for review set forth in this section
   for State plans, except as otherwise provided by regulation promulgated
   pursuant to section 7601(d)(2) of this title. When such plan becomes effec-
   tive in accordance with the regulations promulgated under section 7601(d)
   of this title, the plan shall become applicable to all areas (except as ex-
   pressly provided otherwise in the plan) located within the exterior bound-
   aries of the reservation, notwithstanding the issuance of any patent and in-
   cluding rights-of-way running through the reservation.

   (p) Reports

   Any State shall submit, according to such schedule as the Administra-
   tor may prescribe, such reports as the Administrator may require relating
   to emission reductions, vehicle miles traveled, congestion levels, and any
   other information the Administrator may deem necessary to assess the de-
   velopment [2] effectiveness, need for revision, or implementation of any
   plan or plan revision required under this chapter.




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42 U.S.C. §7607, provides, in relevant part:

   (b) Judicial review

      (1) A petition for review of action of the Administrator in promulgating
      any national primary or secondary ambient air quality standard,
      any emission standard or requirement under section 7412 of this title,
      any standard of performance or requirement under section 7411 of this
      title,,3 any standard under section 7521 of this title (other than a stand-
      ard required to be prescribed under section 7521(b)(1) of this title), any
      determination under section 7521(b)(5) 1 of this title, any control or pro-
      hibition under section 7545 of this title, any standard under section 7571
      of this title, any rule issued under section 7413, 7419, or under section
      7420 of this title, or any other nationally applicable regulations promul-
      gated, or final action taken, by the Administrator under this chapter
      may be filed only in the United States Court of Appeals for the District
      of Columbia. A petition for review of the Administrator’s action in ap-
      proving or promulgating any implementation plan under section 7410
      of this title or section 7411(d) of this title, any order under section
      7411(j) of this title, under section 7412 of this title, under section 7419
      of this title, or under section 7420 of this title, or his action under sec-
      tion 1857c–10(c)(2)(A), (B), or (C) of this title (as in effect before Au-
      gust 7, 1977) or under regulations thereunder, or revising regulations for
      enhanced monitoring and compliance certification programs under sec-
      tion 7414(a)(3) of this title, or any other final action of the Administra-
      tor under this chapter (including any denial or disapproval by the Ad-
      ministrator under subchapter I) which is locally or regionally applicable
      may be filed only in the United States Court of Appeals for the appro-
      priate circuit. Notwithstanding the preceding sentence a petition for re-
      view of any action referred to in such sentence may be filed only in the
      United States Court of Appeals for the District of Columbia if such ac-
      tion is based on a determination of nationwide scope or effect and if in
      taking such action the Administrator finds and publishes that such ac-
      tion is based on such a determination. Any petition for review under this
      subsection shall be filed within sixty days from the date notice of such
      promulgation, approval, or action appears in the Federal Register, ex-
      cept that if such petition is based solely on grounds arising after such
      sixtieth day, then any petition for review under this subsection shall be

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      filed within sixty days after such grounds arise. The filing of a petition
      for reconsideration by the Administrator of any otherwise final rule or
      action shall not affect the finality of such rule or action for purposes of
      judicial review nor extend the time within which a petition for judicial
      review of such rule or action under this section may be filed, and shall
      not postpone the effectiveness of such rule or action.

…

    (d) Rulemaking

      (9) In the case of review of any action of the Administrator to which
      this subsection applies, the court may reverse any such action found to
      be—

         (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
         accordance with law;

         (B) contrary to constitutional right, power, privilege, or immunity;

         (C) in excess of statutory jurisdiction, authority, or limitations, or
         short of statutory right; or

         (D) without observance of procedure required by law, if (i) such fail-
         ure to observe such procedure is arbitrary or capricious, (ii) the re-
         quirement of paragraph (7)(B) has been met, and (iii) the condition
         of the last sentence of paragraph (8) is met.




                                                                               Add.20
